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                                                                              u,ir,_mkw
                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS                             MAY 2 3 2019

GINGER P. ELDER, Plaintiff               )
                                         )
        v.                               )
                                         )
CINDY GILLESPIE, Director, Arkansas )
Department of Human Services, in         )
her official and individual capacity     )
                                         )
CRAIG CLOUD, Director, Division of       )
Provider Services and Quality Assurance, )
Arkansas Department of Human Services,)
in his official and individual capacity, )
                                         )
RICHARD ROSEN, Managing Attorney, )
Office of Chief Counsel, Arkansas        )
Department of Human Services,            )
in his official and individual capacity, )
                                         )
DAVID STERLING, Chief Counsel,           )
Arkansas Department of Human Services,)                   This case assigned to District Ju~ e    611e,;,e
in his official and individual capacity, )                and to Magistrate Judge            4-12£
                                         )
        Defendants                       )
                                         )

COMPLAINT FOR DECLARATORY RELIEF, INJUNCTIVE RELIEF, and DAMAGES




       Plaintiff Ginger Elder states the following in support of her complaint for declaratory

judgment, injunctive relief, and damages against Cindy Gillespie, Craig Cloud, Richard Rosen,

and David W. Sterling in their official and individual capacities:

                               I. PRELIMINARY STATEMENT

       1.      Ginger Elder is a 71 year-old woman with multiple disabilities whose continued

residence in the community rather than in an institution depends on services provided under the

ARChoices Medicaid program. Through ARChoices, individuals who are over 65 or have


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disabilities receive in-home care, access to the full range of state plan Medicaid benefits, and

financial support to pay Medicare premiums. Although Ms. Elder has been on the program for

about four years and has experienced no medical improvement, the Arkansas Department of

Human Services (ADHS) determined her ineligible for ARChoices and terminated her eligibility

on March 25, 2019.

       2.      Clearly established constitutional due process principles require that a Medicaid

beneficiary have the opportunity for an evidentiary administrative hearing before services are

terminated. Such requirements are similarly enshrined in the Medicaid Act and accompanying

federal and state regulations that allow a beneficiary to continue services at pre-reduction levels

pending the outcome of an administrative hearing. Providing beneficiaries the full process due to

them is a fundamental obligation and function of ADHS.

       3.      Although Ms. Elders requested an administrative hearing and requested that her

services be reinstated pending the outcome, ADHS nevertheless terminated her services. As a

result, she is not receiving the in-home care she needs, has stopped receiving mental health

services, and is incurring significant financial expenses for items and costs previously covered

under ARChoices.

       4.      For over three years, ADHS and the named defendants have been aware of the

agency's systematic failure to properly identify beneficiaries who appeal and request continuing

services. Despite this knowledge, ADHS and the named defendants failed to implement any such

procedures, which would have prevented the present hann to Ms. Elders. Accordingly, Ms.

Elders asks that the Court order Defendant Gillespie in her official capacity to remedy the illegal

practice and seeks monetary damages from all named defendants in their individual capacities.

                               II. JURISDICTION AND VENUE



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         5.     This action arises under 42 U.S.C. § 1983 and the Due Process Clause of Amend.

 XIV of the United States Constitution. This Court has subject matter jurisdiction pursuant to 28

 U.S.C. § 1331 and 28 U.S .C. § 1343(a)(3) and (4).

         6.     This Court has jurisdiction to issue declaratory relief and injunctive relief

 pursuant to 28 U.S.C. §§ 2201 and 2202 and Fed. R. Civ. Pro. 65.

         7.     The venue of this action is appropriately in this judicial district and division

 pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events that gave rise to these claims

 occurred within this judicial district and division.

                                            III. PARTIES

         8.     Ms. Elder is a resident of Craighead County, Arkansas. For about four years, she

 has been eligible for the ARChoices Medicaid program. Through ARChoices, she receives in-

 home care provided by a care aide, mental health services, coverage of her monthly Medicare

 premium, and other services. She resides and receives mail at 304 Toni Ann Dr., Jonesboro,

Arkansas, 72401.

        9.      Cindy Gillespie is the director of ADHS , the "single State agency" designated to

administer or supervise the administration of the Medicaid program, as established in Arkansas

through the State Plan submitted to and approved by the federal Centers for Medicare and

Medicaid Services. Ms. Gillespie is being sued in her official and individual capacities. Her

office is located at Donaghey Plaza, 7th and Main Streets, Little Rock, Arkansas, 72201. Her

mailing address in her official capacity is P.O. Box 1437, S201, Little Rock, Arkansas, 72203. On

information and belief, she is a resident of Pulaski County, Arkansas.

         10.    Craig Cloud is currently the director of ADHS ' s Division of Provider Services

and Quality Assurance. He was formerly director of ADHS's Division of Aging and Adult



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Services. His office is located at Donaghey Plaza, 7th and Main Streets, Little Rock, Arkansas,

72201. His mailing address in his official capacity is P.O. Box 1437, S201 , Little Rock,

Arkansas, 72203. On information and belief, he is a resident of Faulkner County, Arkansas.

        11.     Richard Rosen is the managing attorney of the general counsel section of ADHS 's

Office of Chief Counsel. His office is located at Donaghey Plaza, 7th and Main Streets, Little

Rock, Arkansas, 72201. His mailing address in his official capacity is P.O. Box 1437, S201 , Little

Rock, Arkansas, 72203. On information and belief, he is a resident of Pulaski County, Arkansas.

        12.     David Sterling is ADHS ' s Chief Counsel and director of ADHS ' s Office of Chief

Counsel. His office is located at Donaghey Plaza, 7th and Main Streets, Little Rock, Arkansas,

72201. His mailing address in his official capacity is P.O. Box 1437, S201 , Little Rock, Arkansas,

72203. On infonnation and belief, he is a resident of Pulaski County, Arkansas.

                IV. BACKGROUND ON THE ARCHOICES MEDICAID PROGRAM

        13.     Medicaid is a medical assistance program for individuals with limited economic

resources created pursuant to federal statute and subject to federal oversight. See generally 42

U.S.C. § 1396. The federal Center for Medicaid and Medicare Services (CMS) is an agency

within the United States Department of Health and Human Services (HHS) charged with

administration of the Medicaid program at the federal level.

        14.     States have the option to participate in Medicaid. Once a state elects to participate

in Medicaid, it must adhere to the federal legal requirements provided by the Medicaid Act, rules

promulgated by CMS, and the United States Constitution. Arkansas has elected to participate in

Medicaid. See Ark. Code Ann. § 20-77-107. Arkansas has designated ADHS to be the "single

State agency" to administer or supervise the administration of the state's Medicaid program. See

42 U.S.C. § 1396a(a)(5).



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        15.     The Medicaid Act sets forth mandatory services that participating states must

include in their Medicaid programs and optional services that participating states may include in

their Medicaid programs. See 42 U.S.C. §§ 1396a(a)(10)(A), 1396d(a). States express the types

and amounts of covered services, conditions for eligibility, and other related information in a

"state plan."

        16.     The Medicaid Act allows states to deviate from provisions that apply to state plan

services in certain situations prescribed by statute. Pursuant to specific statutes, a state requests

that CMS waive provisions that the Medicaid Act deems to be waivable. Medicaid programs

operated pursuant to such a waiver are called "waiver programs."

        17.     One type of "waiver" program allows states to operate Home and Community

Based Services (HCBS) programs. See 42 U.S.C. § 1396n(c) (also known as Section 1915(c) of

the Social Security Act). Such HCBS waiver programs are designed to provide community-based

alternatives for individuals who would otherwise require institutionalization in a setting such as a

nursing facility. See id. A state operating an HCBS waiver program must comply with all

provisions of the Medicaid Act that were not waived and all other applicable constitutional

provisions, statutes, and regulations.

        18.     ADHS currently operates a HCBS waiver program under Section 1915(c) called

ARChoices. The ARChoices Medicaid program allows the state to save money by providing

community-based care to individuals who would otherwise be institutionalized. On average, the

cost of providing community-based care to a waiver-qualified individual is less than the cost of

providing comparable care in an institutional setting such as a nursing facility.




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          19.    AR Choices provides an array of services for program beneficiaries, including, but

not limited to, attendant care services, home-delivered meals, and a personal emergency response

system.

          20.    In addition to the ARChoices-spedfic services, an ARChoices beneficiary

receives the full range of state plan Medicaid services, including personal care services and

coverage for mental health services, diagnostic tests, medical supplies, and prescription

medications.

          21 .   In addition to the AR Choices-specific services and the full range of state plan

Medicaid services, an ARChoices beneficiary who is simultaneously eligible for Medicare Part B

receives full payment of Medicare Part B premiums, deductibles, and co-payments. 1 See

generally 42 U.S.C. § 1395v(a); 42 C.F.R. § 431.625 ; Social Security Administration, Program

Operation Manual System§ HI 01001.205 2 ; Arkansas Medicaid State Plan Attachment 3.2

(effective 1/1 /89).

          22.    Attendant care involves assistance with activities of daily living, including eating,

bathing, dressing, personal hygiene (grooming, shampooing, shaving, skin care, oral care, etc.),

toileting, mobility/ambulating, including mastering the use of adaptive aids and equipment, meal

planning and preparation, laundry, shopping, housekeeping, assistance with medication (in




1
  An ARChoices beneficiary may be simultaneously eligible for Medicare Part B if she is age 65
or over or receives Social Security Disability Insurance benefits. Medicare Part B covers
different services than Medicaid and has different terms of coverage. For example, Medicare Part
B excludes attendant care and imposes deductibles and co-payments not found in Medicaid. An
individual eligible for Medicare must pay premiums to receive Medicare Part B coverage unless
she is eligible for premium assistance through ARChoices or other applicable programs.

2
    Available at https://secure.ssa.gov/poms.nsf/lnx/0601001205


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certain circumstances), and traveling for purposes of medical appointments or community

activities. ARChoices Provider Manual§ 213 .210. 3

         23.     Personal care involves assistances related to activities of daily living, including

bathing, bladder and bowel requirements, dressing, eating, housekeeping, laundry, personal

hygiene, shopping for personal maintenance items, medication assistance under certain

circumstances, mobility, and ambulation. Personal Care Provider Manual § 213 .210. 4

         24.     Attendant and personal care can be provided in two ways. The first way is that an

ARChoices beneficiary can receive services through a caregiving agency of her own choosing.

The caregiving agency provides care aides at appointed times and manages billing and payment

with ADHS. The second way is that a beneficiary can hire (and fire) a caregiver of her own

choosing, in which case the beneficiary signs time sheets submitted to PALCO, an ADHS vendor

that pays the hired caregiver with funds provided and authorized by ADHS . A beneficiary may

choose to have attendant or personal care provided by both methods, with a caregiving agency

providing care at appointed times and a hired attendant at others.

          25.    ADHS has set the value of an hour of attendant or personal care at $18.12 and the

value of a home-delivered meal at $5.97.

          26.    To be eligible for ARChoices, an individual must meet financial and functional

eligibility criteria. The financial eligibility criteria is not at issue in this lawsuit. To meet the

functional eligibility criteria, a person between the ages of 21 and 64 must have a physical

disability as defined by the Social Security Administration and require an intermediate level of




3
    Available at https://medicaid.mmis.arkansas.gov/Provider/Docs/archoices.aspx

4
    Available at https://medicaid.mmis.arkansas. gov /Provider/Docs/perscare.aspx


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care in a nursing facility. An individual over 65 must only require an intermediate level of care in

a nursing facility. ARChoices Provider Manual § 212.000. Pursuant to promulgated regulations,

an individual requires an intermediate level of care only in the following three situations:

               (a)     The individual must be unable to perform either (1) at least 1 of the 3

               activities of daily living (AD Ls) of transferring/locomotion, eating or toileting

               without extensive assistance from , or total dependence upon another person; or

               (2) at least 2 of the 3 AD Ls of transferring/locomotion, eating, or toileting without

               limited assistance from another person;

               (b)     The individual has a primary or secondary diagnosis of Alzheimer's

               disease or related dementia and is cognitively impaired so as to require substantial

               supervision from another individual because he or she engages in inappropriate

               behaviors which pose serious health or safety hazards to themselves or others; or

               (c)     The individual has a diagnosed medical condition which requires

               monitoring or assessment at least once a day by a licensed medical professional

               and the condition, if untreated, would be life-threatening.

Id.

        27.    The eligibility criteria listed in Paragraph 26(a) has not changed since at least

2005.

        28.    Starting January 1, 2019, ADHS began using an assessment tool called Arkansas

Independent Assessment (ARIA) to assess an individual's eligibility for ARChoices. An

individual who is eligible for ARChoices pursuant to the assessment is classified as "Tier Two."

        29.    Once ADHS determines an individual is eligible for ARChoices, the agency

determines the amount of services to allocate. Starting January 1, 2019, ADHS began using a



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tool called the Task and Hour Standards to determine the amount of services to allocate. Subject

to budgetary limits determined by an algorithm, ADHS develops a "person-centered service

plan" for an individual based on the individual's needs as detennined by the Task and Hour

Standards. See generally ARChoices Provider Manual § 212.000; 212.200; 212.300.

       30.     ADHS assesses program participants at least once every year to determine their

functional eligibility and, if eligible, to develop an updated person-centered service plan.

                         V. ADHS's MANAGEMENT STRUCTURE

       31.     Defendant Gillespie is the director of ADHS and has ultimate supervisorial

responsibilities of Arkansas ' s Medicaid program. See Ark. Code Ann. §§ 25-10-101 ; 25-10-

102(c)(l)(A); 25-10-106. She has been ADHS's director from February 2016 to present.

       32.     Defendant Cloud was the director of ADHS's Division of Aging and Adult

Services (DAAS) from approximately February 2015 to at least August 2017. As director of

DAAS, he had direct supervisorial responsibility over the operation of the AR Choices Medicaid

program.

       33.     Since August 2017, Defendant Cloud has been the director of ADHS's Division

of Provider Services and Quality Assurance. In this role, he has worked "to transition and

integrate programs that benefit aging Arkansans." 5 In addition, he has direct oversight

responsibility of Medicaid providers, including Medicaid providers who provide services such as

personal care and attendant care. On infonnation and belief subject to confirmation after

opportunity for investigation or discovery, Defendant Cloud communicates with providers about

their clients whose services have been reduced or terminated.




5
 https://humanservices.arkansas.gov/newsroom/details/white-to-re-join-dhs-as-deputy-director-
for-aging-adult-and-behavi oral-heal

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        34.       On information and belief subject to confirmation after opportunity for

investigation or discovery, Defendant Cloud in his role as director of ADHS's Division of

Provider Services and Quality Assurance has had direct supervisorial responsibility over the

operation of ARChoices Medicaid program at times between August 2017 and present.

        35.       Defendant Sterling has been the director of ADHS's Office of Chief Counsel

(previously titled the Office of Policy and Legal Services) since approximately February 2015.

He has direct supervisorial responsibility over Defendant Rosen, the General Counsel Section,

and the Office of Appeals and Hearings. The Office of Appeals and Hearings receives

ARChoices beneficiaries' requests for appeals, schedules and conducts appeal hearings, and

issues hearing decisions.

        36.       As ADHS's Chief Counsel, Defendant Sterling also represents the agency in legal

matters and appears as the agency's counsel of record in court proceedings.

        37.       Defendant Rosen is the Managing Attorney of the General Counsel Section with

ADHS' s Office of Chief Counsel. He reports to Defendant Sterling. He has direct supervisorial

responsibility over the ADHS attorneys assigned to evidentiary hearings. In addition, Mr. Rosen

appears as ADHS's counsel ofrecord in court proceedings.

        VI. ADVERSE AGENCY ACTIONS AND DUE PROCESS GUARANTEES

        38.       Constitutional due process provides that individuals on Medicaid are entitled to an

evidentiary hearing prior to the termination or reduction of their benefits. U.S. Const. amend.

XIV,§ l; Goldberg v. Kelly, 397 U.S. 254 (1970); O'Bannon v. Town Court Nursing Ctr., 447

U.S. 773, 786-87 (1980) ("The Government cannot withdraw these direct [Medicaid] benefits

without giving the patients notice and an opportunity for a hearing on the issue of their eligibility

for benefits.")



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       39.     The requirement for an evidentiary hearing prior to the tennination or reduction of

a beneficiary's Medicaid benefits was clearly established law under the U.S. Constitution at the

time of the violation of Ms. Eider's due process rights alleged here.

       40.     Various federal and state Medicaid statutes and regulations enshrine the

constitutional due process guarantee of an evidentiary hearing for adverse agency actions

affecting a person's Medicaid benefits. See, e. g. , 42 U.S.C. § 1396a(a)(3); 42 C.F.R. § 431.205

(incorporating Goldberg v. Kelly, 397 U.S. 254 (1970)); Ark. Code Ann.§ 20-77-121; Ark. Code

Ann. § 25-15-208.

       41 .    Federal Medicaid regulations explicitly provide for that a state agency may not

terminate or reduce Medicaid benefits until the outcome of an evidentiary hearing where a

beneficiary appeals within IO days of the date on the notice of adverse action. 42 C.F.R. §§

431.230, 431.231.

       42.     State Medicaid regulations provide that ADHS may not terminate or reduce

Medicaid benefits until the outcome of an evidentiary hearing where a beneficiary appeals within

10 days of the date on the notice of adverse action. ADHS Medicaid Provider Manual § 161.500;

Ark. Medical Services Policy J-100, J-110, L-120.

       43.     The applicable constitutional provisions, statutes, and regulations do not commit

discretion to ADHS to withhold, reduce, or terminate the Medicaid benefits of beneficiaries who

appeal within 10 days of the date on the notice of adverse action unless the beneficiary requests

withholding, reduction, or termination.




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          VII. REPEATED ALLEGED FAILURES TO CONTINUE MEDICAID

       44.     On April 8, 2016, Legal Aid of Arkansas e-mailed ADHS through Defendant

Rosen contending that ADHS had not maintained the ARChoices services of a beneficiary who

appealed an adverse action within 10 days. The email mentioned constitutional due process. On

April 11 , 2016, Defendant Rosen responded that the beneficiary "is being reinstated for

continuation of services pending appeal." These emails are attached and incorporated as Exhibit

A.

       45.     On April 15, 2016, Legal Aid of Arkansas e-mailed ADHS through Defendant

Rosen contending that ADHS had not maintained the AR Choices services of a beneficiary who

appealed an adverse action within 10 days. This email is attached and incorporated as Exhibit B.

       46.     On April 27, 2016, Legal Aid of Arkansas e-mailed ADHS through Defendant

Rosen contending that ADHS had not maintained the ARChoices services of a beneficiary who

appealed an adverse action within 10 days. Legal Aid "would highly recommend the agency

immediately institute measures to guarantee that individuals who file fair hearing requests within

10 days of receipt of notice of adverse action have their service levels maintained at the pre-

adverse action levels." This email is attached and incorporated as Exhibit C.

       47.     On July 28 , 2016, Legal Aid e-mailed ADHS through Defendant Rosen

contending that ADHS had not maintained the ARChoices services of a beneficiary who

appealed an adverse action within 10 days. This email is attached and incorporated as Exhibit D.

       48.     On September 23, 2016, Legal Aid e-mailed ADHS through Defendant Rosen

contending that ADHS had not maintained the ARChoices services of four beneficiaries who

appealed adverse actions within 10 days. This email is attached and incorporated as Exhibit E.




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       49.     On September 26, 2016, Legal Aid e-mailed ADHS through Defendant Rosen

contending that ADHS had not maintained the AR Choices services of ten beneficiaries who

appealed an adverse action within 10 days. This email is attached and incorporated as Exhibit F.

       50.     On October 5, 2016, Legal Aid e-mailed ADHS through Defendant Rosen

contending that ADHS nurses were discouraging ARChoices beneficiaries from exercising their

rights to maintain services pending an appeal. This email is attached and incorporated as Exhibit

G.

       51.     On April 12, 2017, Legal Aid e-mailed ADHS through Defendant Rosen

contending that ADHS had not maintained the ARChoices services of a beneficiary who

appealed an adverse action within 10 days. Defendant Rosen responded that he "instructed

DAAS to restore the hours pending the hearing . .. " Additionally, Legal Aid contended that a

process to maintain services would be beneficial and that "it would certainly work better for

everyone if DHS met its obligations without requiring clients to contact an attorney to then

contact a DHS attorney." These emails are attached and incorporated as Exhibit H.

       52.     On June 21, 2017, Legal Aid e-mailed ADHS through Defendant Rosen

contending that ADHS had not maintained the ARChoices services of two beneficiaries who

appealed an adverse action within 10 days. Additionally, Legal Aid "encourage[d] the agency to

improve the communications between its various employees to ensure that reductions are not

implemented before the 10 days from the date of the notice of action" because, "[i]n the majority

of our clients' cases, reductions are implemented immediately after a plan of care is finalized and

sent to the provider. ... " Legal Aid contended that it was "available to consult with the agency to

ensure that it meets its obligations under relevant Medicaid and constitutional law." On June 22,




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2017, Defendant Rosen responded that "the care agencies have been advised to continue the

recipients' hours." These emails are attached and incorporated as Exhibit I.

       53 .    On June 23, 2017, Legal Aid e-mailed ADHS through Defendant Rosen

contending that ADHS had not maintained the AR Choices services of six beneficiaries who

appealed an adverse action within 10 days. Legal Aid wrote that it "would hope the agency

implements a system-wide resolution to this issue sooner rather than later." This email is

attached and incorporated as Exhibit J.

       54.     On July 14, 2017, Legal Aid spoke with ADHS through Defendant Rosen via

telephone contending that ADHS had not maintained the AR Choices services of a beneficiary

who appealed an adverse action within 10 days. On July 17, 2017, Defendant Rosen responded

via email that" ... DAAS advised PALCO to restore the care plan" pending the beneficiary's

appeal. These emails are attached and incorporated as Exhibit K.

       55.     On July 21, 2017, Legal Aid e-mailed ADHS through Defendant Rosen asking

that he ensure that ADHS not reduce the AR Choices services of a beneficiary who appealed an

adverse action within 10 days. Defendant Rosen responded that he "forwarded [the] email to

DAAS and . .. will confirm continuation of services pending appeal" on the next business day.

These emails are attached and incorporated as Exhibit L.

       56.     On July 27, 2017, Legal Aid e-mailed ADHS through Defendant Rosen

contending that a beneficiary's ARChoices services had not been restored despite a timely appeal

request on May 11 , 2017 and an email to Rosen on June 23, 2017. On July 28, 2017, an ADHS

attorney under Defendant Rosen ' s supervisorial authority, Nicholas Windle, stated that the

beneficiary's ARChoices services were restored on July 7, 2017. On August 9, 2017, Legal Aid

e-mail ADHS through Defendant Rosen to contending that the beneficiary' s ARChoices services



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had still not been restored. On August 15, 2017, Windle admitted that there was an "issue" with

PALCO, an ADHS vendor. On September 2, 2017, Legal Aid e-mailed ADHS through

Defendant Rosen contending that the beneficiary's ARChoices services were still not restored

despite the earlier requests. On September 6, 2017, Defendant Rosen responded that "DAAS

confirmed that the hours are restored .... " These emails are attached and incorporated as Exhibit

M.

        57.    On August 10, 2017, Legal Aid e-mailed ADHS through Defendants Rosen and

Sterling with a letter attached and explicitly requested that they forward the letter to Defendant

Gillespie and other ADHS officials. The letter's purpose was "so that all relevant stakeholders

may be fully aware of our clients' positions and our overall willingness to again attempt

amicable resolution." Legal Aid contended that there were various problems with ARChoices,

including the following:

       (1) Premature Reduction of Services. Clients who appeal within 10 days of the notice
       of action do not have their services maintained at pre-reduction levels as required by
       federal regulations, even with explicit requests to do so. While Mr. Rosen has been
       helpful in restoring the hours of those clients whose services were prematurely reduced,
       his involvement required correspondence from a Legal Aid attorney after the Department
       failed to take note of an explicit request in the appeal paperwork. If the agency's system
       for tracking appeals is not working well for program participants with an attorney, one
       can only imagine the adverse effects on unrepresented individuals. DHS should adopt
       new internal procedures for appeals so that DAAS nurses do not forward the Person
       Centered Service Plan to Palco or agency providers until 15 days have elapsed.from the
       date the notice of adverse action is sent. Relatedly, OAH should coordinate with DAAS to
       ensure that nurses are promptly made aware of all appeals so that they do not implement
       a reduction for a beneficiary who appealed within 10 days.

The email and letter are attached and incorporated as Exhibit N.




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       58.     On August 16, 2017, Defendant Rosen e-mailed Legal Aid that he "reviewed your

letter and forwarded it to my client" and "expect[s] to meet with DAAS about your letter." The

email is attached and incorporated as Exhibit 0.

       59.     Acting through Defendants Rosen and Sterling, ADHS responded to the August

10, 2017 letter with a letter and follow-up emails. In the response letter and follow-up emails,

ADHS never addressed the premature reduction of services.

       60.     On September 2, 2017, Legal Aid e-mailed ADHS through Defendant Rosen

contending that ADHS had not maintained the ARChoices services of a beneficiary who

appealed an adverse action within 10 days and asked that ADHS "please work out a functioning

system so that people who appeal within 10 days get to keep the pre-reduction services to which

they are entitled . . .. " On September 6, 2017, Defendant Rosen responded that "DAAS has

confirmed that the hours are restored .... " These emails are attached and incorporated as Exhibit

P.

       61.     On January 10, 2018, Legal Aid e-mailed ADHS through Defendant Rosen

contending that ADHS had not maintained the AR Choices services of two beneficiaries who

appealed an adverse action within 10 days. On January 11, 2018, Defendant Rosen responded

that the services "are reinstated or continuing at their prior level." These emails are attached and

incorporated as Exhibit Q.

       62.     On March 12, 2019, Legal Aid of Arkansas e-mailed ADHS through Defendant

Rosen contending that ADHS had not maintained the AR Choices services of six beneficiaries

who appealed an adverse action within 10 days. On March 13, 2019, Defendant Rosen responded

that five of the beneficiaries' services were continued without stopping but that one had "services




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stopped for an unknown reason but was reinstated effective today." These emails are attached

and incorporated as Exhibit R.

         63.     Between May 14, 2018 and October 8, 2018, ADHS initiated no adverse actions

based on functional assessments for ARChoices due to litigation invalidating the allocation

methodology in effect at that time.

         64.     Each beneficiary identified in the communications contained in Paragraphs 44 to

62 filed an appeal within 10 days from the date on the notice of adverse action that ADHS issued

to them. This allegation will have evidentiary support after a reasonable opportunity for

investigation and discovery of information in the Defendants' possession. 6

         65.     Each beneficiary identified in the communications referenced in Paragraphs 44 to

62 experienced a reduction or termination of ARChoices services prior to the outcome of the

appeal or was informed of an impending reduction or termination by ADHS , PALCO, or a

caregiving agency. This allegation will have evidentiary support after a reasonable opportunity

for investigation and discovery of information in the Defendants' possession. 7

         66.     Between 2016 and present, ARChoices beneficiaries not identified in Paragraphs

44 to 62 received notices of adverse action issued by ADHS, filed an appeal within 10 days from

the date on the notice, and experienced a reduction or termination of ARChoices services prior to



6
  Paragraphs 65 and 66 are included to clarify that that the emails sent by Legal Aid contained in
Paragraphs 44 to 62 are not intended to establish that the identified beneficiaries in fact appealed
within 10 days from the date on the notice of adverse action or in fact experienced a reduction or
termination of ARChoices services prior to the outcome of the appeal. If ADHS controverts the
contentions of Paragraphs 65 and 66, evidence of such appeals, reductions, or terminations or
evidence of impending reductions or termination presumably will come from information in the
Defendants' possession in the form of notices of adverse action, appeal requests, care plans,
service authorizations, communications made by agency officials confirming restoration or
maintenance of services, or other ADHS records.

7
    See Footnote 6.

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the outcome of the appeal. This allegation will have evidentiary support after a reasonable

opportunity for investigation and discovery of information in the Defendants' possession.

        67.     On April 26, 2019, Legal Aid requested information pursuant to Arkansas's

Freedom oflnfonnation Act about ADHS policies, procedures, and processes "currently in

effect ... for continuing benefit eligibility for Medicaid beneficiaries who appeal adverse agency

decisions."

        68.     As of April 26, 2019, ADHS did not have any written procedure or process for

continuing benefit eligibility for Medicaid beneficiaries who appeal adverse agency decisions.

        69.     As a matter of custom, policy, or practice, ADHS automatically terminates or

reduces the services of Medicaid beneficiaries subject to adverse agency actions regardless of the

timing of any appeal request.

        70.     As a matter of custom, policy, or practice, ADHS maintains or restores the

services of Medicaid beneficiaries who timely appeal an adverse action only where a beneficiary

takes additional action, such as retaining an attorney to contact ADHS.

        71.     Any ADHS requirement that a beneficiary who timely appealed take additional

action to maintain Medicaid benefits is incompatible with the requirements of constitutional due

process and applicable statutes and regulations.

                                      VIII. GINGER ELDER

       72.      Ginger Elder is a former teacher, liked sewing as a hobby when she was younger,

and used to be very active in her local church. She has been married to her husband Vilas Elder

for 27 years.

       73.      Ms. Elder has multiple medical conditions, including an enlarged heart, diabetes,

diabetes-related neuropathy in her hands and feet, osteoarthritis, diverticulitis, irritable bowel



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syndrome, chronic bladder infections, damage to both knees, damage to her right shoulder, major

depressive disorder, anxiety disorder, and Bell's palsy. She is oxygen-dependent and requires an

oxygen tank at all times. She has frequent bowel and bladder incontinence. She had one knee

replaced in or around 2014 and is waiting to have surgery to have the other knee replaced. She

has developed a hernia in her abdomen as a result of a fall in the last 30 days.

        74.    Ms. Elder became eligible for Medicare in or around 2013.

        75 .   Ms. Elder applied for ARChoices Medicaid in 2015 , and ADHS determined her to

be eligible. ADHS assessed her again in 2016, 2017, and 2018 and determined her eligible each

time. On each assessment, ADHS determined that Ms. Elder met the functional eligibility criteria

recited in Paragraph 26(a). 8

        76.    As a beneficiary of ARChoices, Ms. Elder received attendant care and home-

delivered meals. She chose to receive her attendant care services through East Arkansas Area

Agency on Aging, a caregiving agency. She received one home-delivered meal each day of the

week.

        77.    ADHS increased Ms. Elder's allocation of care hours in 2016, 2017, and 2018.

Based on the last assessment ADHS perfonned prior to 2019, ADHS determined that Ms. Elder

required approximately 30 hours per week of care.

        78.    Ms. Elder used attendant and/or personal care services to help her to get in and

out of bed and chairs, to move from one place to another without falling, to get on and off the




8
 The individual must be unable to perfonn either (1) at least 1 of the 3 activities of daily living
(AD Ls) of transferring/locomotion, eating or toileting without extensive assistance from , or total
dependence upon another person; or (2) at least 2 of the 3 AD Ls of transferring/locomotion,
eating, or toileting without limited assistance from another person

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toilet, to clean herself fully after using the toilet, to bathe, to dress, to do laundry, and to prepare

meals.

         79.    Ms. Eider's functional abilities have not improved since her last assessment prior

to 2019.

         80.    As a beneficiary of ARChoices, Ms. Elder also received the full range of state

plan Medicaid services. Her state plan Medicaid benefits covered personal care, mental health

treatment, medical supplies, prescription drugs, and other services.

         81 .   As a beneficiary of AR Choices, ADHS paid or arranged for payment of Ms.

Eider' s Medicare Part B premiums, deductibles, and co-payments.

         82.    On or around January 15, 2019, ADHS assessed Ms. Elder for ARChoices

eligibility using the ARIA assessment instrument.

         83.    On or around March 12, 2019, ADHS informed East Arkansas Area Agency on

Aging that Ms. Elder would no longer be eligible for AR Choices and would be terminated from

the program pursuant to the January 15, 2019 assessment. East Arkansas Area Agency on Aging

informed Ms. Elder of the impending termination, that an appeal process was available, and that

a prompt appeal would allow her Medicaid to continue until the outcome of an appeal hearing.

         84.    On March 13, 2019, Ms. Elder appealed ADHS's decision to terminate her

eligibility for ARChoices services. She sent a letter to ADHS ' s Office of Appeals and Hearings

at P.O. Box 1437, Slot N-401 , Little Rock, Arkansas, 72203. In the appeal letter, Ms. Elder

asked ADHS to reinstate her ARChoices services.

         85.    On March 15, 2019, ADHS issued a notice of action to Ms. Elder terminating her

ARChoices eligibility as of March 25 , 2019. The notice of action states the following:




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          If you disagree with the action we plan to take, you may request a hearing. You must
          make your hearing request no later than 30 days from the date of this notice to receive a
          hearing.

          If you are currently receiving Medicaid assistance and request a hearing by the effective
          date shown on the front page, your assistance may be continued at its present level
          pending a decision on your appeal. If assistance is continued at its present level until a
          decision is reached, you may be required to repay the additional benefits if the hearing is
          not in your favor.

          86.    ADHS received Ms. Eider's appeal letter by March 25, 2019.

          87.    On March 25, 2019, ADHS terminated Ms. Eider' s ARChoices Medicaid,

including ARChoices-specific services, state plan Medicaid services, and coverage of her

Medicare Part B premium, deductibles, and co-payments.

          88.    The termination of Ms. Eider's Medicaid was caused by ADHS ' s failure to

implement procedures to identify timely appeals and take whatever steps are necessary to

maintain Medicaid services and ADHS ' s custom, policy, or practice to terminate or reduce the

services of Medicaid beneficiaries subject to adverse agency actions regardless of the timing of

any appeal request. Additionally or in the alternative, the termination of Ms. Elder's Medicaid

resulted from the failure of an ADHS employee responsible for identifying timely appeals and

taking whatever steps are necessary to maintain Medicaid services to adequately perform their

duties.

          89.    Since March 25 , 2019, due to ADHS's termination of her ARChoices Medicaid,

Ms. Elder has not received any home-delivered meals, attendant care, or state plan personal care.

          90.    Vilas Elder, Ms. Eider' s 73 year-old husband, attempts to meet her care needs but

is not physically able to fully do so. In addition, Mr. Elder works part-time at a movie theater and

occasionally does long-distance driving to earn money. He is often gone as much as seven hours



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at a time. Since March 25, 2019, he has had to work more often to earn money to attempt cover

costs previously covered under ARChoices Medicaid.

       91.     As a result of the termination of ARChoices Medicaid, Ms. Elder has had to stay

in one place more than she did prior to March 25, 2019, has fallen several times, has not been

able to be fully changed or cleaned when needed, has stayed in her own waste longer, and has

eaten less than she wants to.

       92.     As a result of the termination of AR Choices Medicaid, Ms. Elder is no longer

receiving mental health treatment. As a result, she is experiencing greater depression and

anxiety, which have caused her increased suffering.

       93.     As a result of the termination of ARChoices Medicaid, Ms. Elder must now pay

out of pocket for pull-up diapers previously covered. Since March 25 , 2019, she has incurred at

least $500 in costs for pull-up diapers. She uses approximately 12 pull-up diapers per day and

expects to continue to incur costs in order to purchase them.

       94.     As a result of the termination of AR Choices Medicaid, Ms. Elder must now

purchase more food to compensate for the daily home-delivered meal provided under

ARChoices. Since March 25, 2019, she has incurred at least $400 in additional costs for food.

       95.     As a result of the termination of ARChoices Medicaid, Ms. Elder has been denied

medically necessary vision care and services that would be covered under Medicaid. The medical

provider is unwilling to see her without active insurance or prepayment for services. She cannot

afford to prepay the cost for these services.

       96.     As a result of the termination of ARChoices Medicaid, Ms. Elder has received a

bill for $960 for dental services rendered that would be covered under Medicaid.




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       97.     As a result of the termination of ARChoices Medicaid, Ms. Elder must now pay

her monthly Medicare Part B premium of $135.50. Since March 25 , 2019, she has incurred $271

in costs for Medicare Part B. On June 3, 2019, she will incur another $135.50 in costs for

Medicare Part B.

       98.     Pursuant to Ms. Eider's March 13, 2019 appeal letter, ADHS scheduled an

administrative hearing for May 23, 2019. That hearing has since been continued for purposes of

obtaining legal representation, and no new date has been set.

       99.     The subject of the administrative hearing is whether or not OHS reached the

correct conclusion about Ms. Eider's ARChoices eligibility. The administrative hearing does not

encompass questions about the agency's violation of constitutional due process obligations to

furnish continuing benefits pending the outcome of the hearing.

       100.    The administrative hearing officer does not have jurisdiction to decide issues

arising under the United States Constitution or grant the reliefrequested here.

       101.    If Ms. Elder prevails at the administrative hearing, she will receive a new

assessment to determine her eligibility for ARChoices, which, in the event of a subsequent

adverse determination, will subject her to the same deficiencies at issue in this lawsuit.

       102.    Retroactive reinstatement of Ms. Eider's AR Choices Medicaid will not fully

compensate her for costs, anguish, or suffering incurred as a result of ADHS's termination of

ARChoices prior to an evidentiary hearing.

       103.    ADHS perfonned a new assessment for Ms. Elder on May 21, 2019. ADHS has

not yet issued a notice detennining whether she is eligible for ARChoices. On information and

belief, the new assessments shows that Ms. Elder meets the functional eligibility criteria for

ARChoices.



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                                  IX. CLAIMS FOR RELIEF

       104.    At all relevant times, the Defendants were acting under color of law in the

administration of ADHS.

       105.    Ms. Elder asserts her right to relief against the Defendants jointly, severally, or in

the alternative with respect to the termination of her AR Choices Medicaid and resulting harms.

       106.    Questions of law or fact common to all Defendants include all facts relating to

Ms. Elders' ARChoices eligibility and invocation of her right to an evidentiary hearing, all facts

pertaining to ADHS's process for maintaining the services of Medicaid beneficiaries who timely

request appeal, all facts pertaining to ADHS's failure to maintain Ms. Eider's Medicaid pending

the outcome of an evidentiary hearing, and all facts pertaining to the extent of damages.

       107.    Equitable relief is necessary because relief at law is inadequate to avoid further

harm to Ms. Elder while this case is ongoing.

       108.    There is an actual controversy between the parties.

       109.    Ms. Elder is likely to suffer irreparable harm in the absence of preliminary relief

because she requires ARChoices attendant care services to meet her care needs, to receive

medically necessary mental health treatment, vision treatment, and dental services, and to cover

the costs of her Medicare Part B premium, deductibles, and co-pays.

       110.    The harm that Ms. Elder suffers outweighs any injury that would be caused to the

Defendants by reinstating her services and/or implementing procedures or practices to ensure

that Medicaid benefits are maintained for beneficiaries who appeal adverse agency actions within

10 days.

       111.    The public interest is significant in protecting Medicaid beneficiaries' right to an

evidentiary hearing prior to the termination of services because Medicaid provides medically



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necessary services to people who live in or near poverty and who cannot afford such services in

the absence of Medicaid.

        112.   Ms. Elder is likely to succeed on the merits of her claim, as all claims are

enforceable by private parties and based on facts establishing the Defendant's unlawful conduct.

        113.   The Defendants have engaged in reckless and callous indifference to Ms. Eider's

constitutional rights such that punitive damages are needed to punish and deter such conduct.

        114.   As a direct and proximate consequence of the Defendants' conduct, Ms. Elder is

entitled to damages, including, but not limited to, the following, all of which are to be specified

at trial: expenses incurred as a result of the termination of ARChoices, the value of the

ARChoices services withheld, compensatory damages for delays in medically necessary care,

mental anguish, physical suffering, and other compensatory and punitive damages.

   Count One: Constitutional Due Process Against Defendants in Their Official Capacities

        115.   Ms. Elder has a property interest in continuing coverage through the ARChoices

Medicaid program.

        116.   Ms. Elder has a legitimate claim of entitlement to Medicaid coverage through

ARChoices because she was receiving ARChoices at the time ADHS issued its notice of adverse

action on March 15, 2019. Furthermore, ADHS has determined her eligible for ARChoices

multiple times and allocated her approximately 30 hours per week of attendant care.

        117.   Ms. Elder requires at least limited assistance in toileting because she needs

assistance from another person at least three times per week to get on and off the toilet without

falling, to clean herself after using the toilet, and to change pull-up diapers or adjust her clothing.




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        118.    Ms. Elder requires at least limited assistance with mobility/transfers because she

needs assistance from another person at least three times per week to get from one place to

another without falling and to get into or out of a chair without falling.

        119.    The Due Process Clause of the Fourteenth Amendment prohibits states from

denying, reducing, or terminating Medicaid services without due process oflaw. According to

Goldberg v. Kelly, 397 U.S. 254 (1970), and subsequent cases, the constitutional right to due

process includes, among other things, the right to an evidentiary hearing prior to the termination

or reduction of benefits. The due process requirements in Goldberg were explicitly integrated

into federal Medicaid regulations. See 42 C.F .R. § 431.205(d).

        120.    As a matter of custom, policy, or practice, ADHS automatically terminates or

reduces the services of Medicaid beneficiaries subject to adverse agency actions regardless of the

timing of any appeal request.

        121.    ADHS terminated Ms. Elder' s AR Choices Medicaid prior to an evidentiary

hearing despite her appeal of the adverse agency action within 10 days.

        122.    The Defendants' termination of Ms. Elder's ARChoices Medicaid prior to an

evidentiary hearing violates the Due Process clause of the Fourteenth Amendment to the U.S.

Constitution.

        123.    As a result of the Defendants' unlawful actions, Ms. Elder has suffered a

deprivation of needed care, loss of mental health treatment, loss of needed vision care, and

increased costs for adult diapers, food, medical services, and Medicare premiums.

        124.    Any effort by ADHS to reinstate the services of Medicaid beneficiaries that have

been reduced or terminated prior to an evidentiary hearing requires additional beneficiary action

that is incompatible with the requirements of constitutional due process



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       Cou11t Two: Co11stitutio11al Due Process Agai11st Rose11 ill His Perso11al Capacity

       125.    The Plaintiff incorporates the contentions of Paragraphs 1 through 124.
                                                -
       126.    Over a three-year span detailed in Paragraphs 44 to 62, Defendant Rosen received

contentions from Legal Aid that ADHS unlawfully terminated or reduced the ARChoices

benefits of beneficiaries who appealed adverse agency action within 10 days and that such

terminations or reductions harmed ARChoices beneficiaries.

       127.    Defendant Rosen responded to Legal Aid's contentions with statements that

benefits were or would be restored, continued, or reinstated. See Paragraphs 44 (Exhibit A), 51

(Exhibit H), 52 (Exhibit I), 54 (Exhibit K), 55 (Exhibit L), 56 (Exhibit M), 60 (Exhibit P), 61

(Exhibit Q), and 62 (Exhibit R). (Exhibit F), 52 (Exhibit I), 53 (Exhibit J), and 54 (Exhibit K) .

       128.    Defendant Rosen received Legal Aid's letter dated August 10, 2017 contending

that ADHS did not ensure that ARChoices beneficiaries who appealed an adverse action within

10 days would receive continuing services. See Paragraphs 57 (Exhibit N) and 58 (Exhibit 0).

       129.    On information and belief subject to confirmation after an opportunity for

investigation or discovery, Defendant Rosen was the ADHS employee responsible for

identifying timely appeals and taking whatever steps are necessary to maintain Medicaid

services.

       130.    Defendant Rosen failed to identify Ms. Eider's timely appeal and take necessary

steps to maintain Ms. Elder's Medicaid services.

       131.    As a result of Defendant Rosen's failure, Ms. Eider' s ARChoices Medicaid was

terminated, causing the harms alleged in this Complaint.

       132.    Alternatively, if Defendant Rosen was not the ADHS employee responsible for

identifying timely appeals and taking necessary steps to maintain Medicaid services, on



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information and belief subject to confirmation after opportunity for investigation or discovery, he

supervised the responsible employee. The responsible employee failed to identify Ms. Elder's

timely appeal request and take necessary steps to maintain Ms. Elder's Medicaid services.

        133.       Defendant Rosen failed to adequately train or supervise his subordinates to ensure

that the Medicaid services of beneficiaries who timely appealed an adverse agency action would

· be maintained.

        134.       Defendant Rosen had notice of a pattern of unconstitutional acts based on Legal

Aid's contentions recited in Paragraphs 44 to 62 that ADHS lacked an adequate system to ensure

continuing benefits for Medicaid beneficiaries who timely appealed.

        135.       Defendant Rosen received Legal Aid's contentions recited in Paragraphs 44 to 62

that beneficiaries without counsel would be adversely impacted by ADHS 's lack of a process to

ensure continuing services upon timely appeal. See, e.g., Paragraph 57 (Exhibit N).

        136.       Defendant Rosen was deliberately indifferent to ADHS's custom, policy, or

practice of reducing or terminating Medicaid benefits prior to an evidentiary hearing because he

did not propose or implement any process, procedure, training, or oversight to ensure continuing

Medicaid services upon timely appeal despite having information or authority to do so.

        137.       Defendant Rosen was deliberately indifferent to ADHS's custom, policy, or

practice of reducing or terminating Medicaid benefits prior to an evidentiary hearing because he

restored, reinstated, or continued the services of beneficiaries only where they retained counsel

who communicated with ADHS, which is a custom, practice, or policy that is unlawful.

        138.       Defendant Rosen's deliberate indifference to ADHS 's custom, policy, or practice

 of reducing or terminating Medicaid benefits prior to an evidentiary hearing harmed Ms. Elder




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because she filed a timely appeal without counsel, had her Medicaid services terminated, and, as

a result, suffered the harms alleged in this Complaint.

       139.    Whether or not Defendant Rosen was or supervised the ADHS employee

responsible for identifying timely appeals and taking necessary to maintain Medicaid services, he

has an ethical duty as an ADHS attorney to inform his supervising attorney, Defendant Sterling,

of potentially unconstitutional acts such as the pre-hearing termination or reduction of Medicaid

benefits for beneficiaries who timely appeal.

       140.    Whether or not Defendant Rosen was himself or supervised the ADHS employee

responsible for identifying timely appeals and taking necessary to maintain Medicaid services, he

has an ethical duty as an ADHS attorney to inform his client-like entities within ADHS of

potentially unconstitutional acts involving their programs, such as the pre-hearing termination or

reduction of Medicaid benefits for beneficiaries who timely appeal.

       141.    For purposes of ARChoices, Defendant Rosen's client-like entities within ADHS

has been at various times the Division of Aging and Adult Services, its successor entity, and the

Division of Provider Services and Quality Assurance.

     Count Three: Constitutional Due Process Against Sterling in His Personal Capacity

       142.    The Plaintiff incorporates the contentions of Paragraphs 1 through 141.

       143.    On information and belief subject to confirmation after an opportunity for

investigation or discovery, Defendant Sterling received information from Defendant Rosen about

Legal Aid's contentions recited in in Paragraphs 44 to 62 that ADHS unlawfully terminated or

reduced the AR Choices benefits of beneficiaries who appealed adverse agency action within 10

days and that such tenninations or reductions harmed ARChoices beneficiaries.




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        144.   Defendant Sterling received Legal Aid ' s letter dated August 10, 2017 contending

that ADHS did not ensure that ARChoices beneficiaries who appealed an adverse action within

10 days would receive continuing services. See Paragraphs 57 (Exhibit N) and 59.

        145.   As the head of the Office of Chief Counsel, Defendant Sterling has supervisorial

responsibility over the Office of Appeals and Hearings, which receives appeal requests from

beneficiaries. On information and belief subject to confirmation after opportunity for

investigation or discovery, he supervised the employee responsible for identifying Ms. Eider' s

timely appeal request and taking necessary steps to maintain Ms. Eider' s Medicaid services.

        146.   Alternatively, if there is no subordinate employee directly responsible for

identifying Ms. Eider' s timely appeal request and taking necessary steps, Defendant Sterling as

the head of the Office of Chief Counsel is the ADHS employee responsible for ensuring that

there are adequate procedures to identify beneficiaries' timely appeal requests and maintain their

services.

        147.   Defendant Sterling failed to adequately train or supervise his subordinates to

ensure that the Medicaid services of beneficiaries who timely appealed an adverse agency action

would be maintained.

        148.   Defendant Sterling had notice of a pattern of unconstitutional acts because he

received Legal Aid ' s August 10, 2017 letter containing such contentions.

        149.   On information and belief subject to confirmation after opportunity for

investigation and discovery, Defendant Sterling had notice of a pattern of unconstitutional acts

based on infonnation provided to him by Defendant Rosen about Legal Aid's contentions recited

in Paragraphs 44 to 62 that ADHS unlawfully terminated or reduced the AR Choices benefits of




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beneficiaries who appealed adverse agency action within 10 days and that such terminations or

reductions harmed ARChoices beneficiaries

        150.     Defendant Sterling was deliberately indifferent to ADHS 's custom, policy, or

practice of reducing or terminating Medicaid benefits prior to an evidentiary hearing because he

did not propose or implement any process, procedure, training, or oversight to ensure continuing

Medicaid services upon timely appeal despite having authority to do so.

        151 .    Defendant Sterling was deliberately indifferent to ADHS ' s custom, policy, or

practice of reducing or terminating Medicaid benefits prior to an evidentiary hearing because he

allowed subordinates to restore, reinstate, or continue the services of beneficiaries only where the

beneficiary retained counsel who communicated with ADHS , which is a custom, practice, or

policy that is unlawful.

        152.     Defendant Sterling' s deliberate indifference to ADHS ' s custom, policy, or

practice of reducing or terminating Medicaid benefits prior to an evidentiary hearing harmed Ms.

Elder because she filed a timely appeal without counsel, had her Medicaid services terminated,

and, as a result, suffered the harms alleged in this Complaint.

        153.     Whether or not Defendant Sterling supervised the ADHS employee responsible

for identifying timely appeals and taking necessary to maintain Medicaid services or was the

employee responsible for ensuring adequate procedures were in place, he has an ethical duty as

an ADHS 's Chief Counsel to inform Defendant Gillespie of potentially unconstitutional acts

such as the pre-hearing termination or reduction of Medicaid benefits for beneficiaries who

timely appeal.

        154.     Whether or not Defendant Sterling supervised the ADHS employee responsible

for identifying timely appeals and taking necessary to maintain Medicaid services or was the



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employee responsible for ensuring adequate procedures were in place, he has an ethical duty as

ADHS 's Chief Counsel attorney to inform his client-like entities within ADHS of potentially

unconstitutional acts involving their programs, such as the pre-hearing termination or reduction

of Medicaid benefits for beneficiaries who timely appeal.

       155.    For purposes of ARChoices, Defendant Sterling' s client-like entities within

ADHS has been at various times the Division of Aging and Adult Services, its successor entity,

and the Division of Provider Services and Quality Assurance.

      Count Four: Constitutional Due Process Against Cloud in His Personal Capacity

       156.    The Plaintiff incorporates the contentions of Paragraphs 1 through 155.

       157.    On infonnation and belief subject to confirmation after an opportunity for

investigation or discovery, Defendant Cloud received information from Defendants Rosen and/or

Sterling about Legal Aid ' s contentions recited in in Paragraphs 44 to 62 that ADHS unlawfully

terminated or reduced the ARChoices benefits of beneficiaries who appealed adverse agency

action within 10 days and that such terminations or reductions harmed AR Choices beneficiaries.

       158.    On information and belief subject to confirmation after an opportunity for

investigation or discovery, Defendant Cloud received Legal Aid's letter dated August I 0, 2017

contending that ADHS did not ensure that ARChoices beneficiaries who appealed an adverse

action within 10 days would receive continuing services. See Paragraphs 57 (Exhibit N) and 59.

       159.    As the head of the Division of Aging and Adult Services and the Division of

Provider Services and Quality Assurance, Defendant Cloud has had supervisorial responsibility

over the ARChoices program. On information and belief subject to confirmation after

opportunity for investigation or discovery, he supervised the employee responsible for




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identifying Ms. Eider's timely appeal request and taking necessary steps to maintain Ms. Eider' s

Medicaid services.

       160.      Alternatively, if there is no subordinate employee directly responsible for

identifying Ms. Elder's timely appeal request and taking necessary steps, Defendant Cloud is the

ADHS employee responsible for ensuring that there are adequate procedures to identify

ARChoices beneficiaries' timely appeal requests and maintain their services.

       161 .     Defendant Cloud failed to adequately train or supervise his subordinates to ensure

that the Medicaid services of beneficiaries who timely appealed an adverse agency action would

be maintained.

       162.      Defendant Cloud had notice of a pattern of unconstitutional acts because, on

information and belief subject to confirmation after opportunity for investigation and discovery,

he received Legal Aid' s August 10, 2017 letter containing such contentions.

       163.      On information and belief subject to confirmation after opportunity for

investigation and discovery, Defendant Cloud had notice of a pattern of unconstitutional acts

based on information provided to him by Defendants Rosen and/or Sterling about Legal Aid's

contentions recited in Paragraphs 44 to 62 that ADHS unlawfully terminated or reduced the

ARChoices benefits of beneficiaries who appealed adverse agency action within 10 days and that

such terminations or reductions harmed ARChoices beneficiaries.

       164.      On information and belief subject to confirmation after opportunity for

investigation and discovery, Defendant Cloud had notice of a pattern of unconstitutional acts

based on information provided to him by Medicaid providers such as caregiving agencies, which

communicated with him about the termination or reduction of services for AR Choices

beneficiaries who timely appealed adverse agency action.



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        165.   Defendant Cloud was deliberately indifferent to ADHS ' s custom, policy, or

practice of reducing or terminating Medicaid benefits prior to an evidentiary hearing because he

did not propose or implement any process, procedure, training, or oversight to ensure continuing

ARChoices services upon timely appeal despite having authority to do so.

        166.   Defendant Cloud was deliberately indifferent to ADHS ' s custom, policy, or

practice of reducing or terminating Medicaid benefits prior to an evidentiary hearing because he

authorized others to restore, reinstate, or continue the services of beneficiaries only where the

beneficiary retained counsel who communicated with ADHS , which is a custom, practice, or

policy that is unlawful.

        167.    Defendant Cloud ' s deliberate indifference to ADHS ' s custom, policy, or practice

of reducing or tenninating Medicaid benefits prior to an evidentiary hearing harmed Ms. Elder

because she filed a timely appeal without counsel, had her Medicaid services terminated, and, as

a result, suffered the harms alleged in this Complaint.

        168.   Whether or not Defendant Cloud supervised the ADHS employee responsible for

identifying timely appeals and taking necessary to maintain Medicaid services or was the

employee responsible for ensuring adequate procedures were in place, he has an obligation as a

division director to inform Defendant Gillespie of potentially unconstitutional acts such as the

pre-hearing termination or reduction of Medicaid benefits for beneficiaries who timely appeal.

        169.   Defendant Cloud was exposed to constitutional due process principles through his

participation in Jacobs v. Gillespie, 3:16-cv-119-DPM (E.D. Ark. Nov. 1, 2016), where the

Court held that ADHS violated constitutional due process by failing to provide ARChoices

beneficiaries with sufficient notice to apprise them of the reasons for the agency' s adverse




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actions. ADHS designated Cloud as a witness in response to a deposition under Fed. R. Civ. P.

30(b)(6) and as the agency representative at trial .

          170.    Defendant Cloud attended hearings and provided testimony before the legislature

about the ARChoices program in September 2018 and December 2018, during which time the

appeals process available to beneficiaries was discussed.

      Count Five: Constitutional Due Process Against Gillespie in Her Personal Capacity

          171 .   The Plaintiff incorporates the contentions of Paragraphs 1 through 170.

          172.    On information and belief subject to confirmation after an opportunity for

investigation or discovery, Defendant Gillespie received information from Defendants Rosen,

Sterling, and/or Cloud about Legal Aid's contentions recited in in Paragraphs 44 to 62 that

ADHS unlawfully tenninated or reduced the ARChoices benefits of beneficiaries who appealed

adverse agency action within 10 days and that such terminations or reductions harmed

ARChoices beneficiaries.

          173.    On information and belief subject to confirmation after an opportunity for

investigation or discovery, Defendant Gillespie received Legal Aid ' s letter dated August 10,

2017 contending that ADHS did not ensure that ARChoices beneficiaries who appealed an

adverse action within 10 days would receive continuing services. See Paragraphs 57 (Exhibit N)

and 59.

          174.    As the head of the ADHS , Defendant Gillespie has ultimate supervisorial

responsibility over the state' s Medicaid program, including AR Choices, and ADHS 's appeals

and hearing system. She supervised the employees responsible for ensuring that there are

adequate procedures to identify beneficiaries' timely appeal requests and maintain their services.




                                                 -35-
      Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 36 of 101



        175.    Defendant Gillespie failed to adequately train or supervise her subordinates to

ensure that the Medicaid services of beneficiaries who timely appealed an adverse agency action

would be maintained.

        176.    Defendant Gillespie had notice of a pattern of unconstitutional acts because, on

information and belief subject to confirmation after opportunity for investigation and discovery,

she received Legal Aid's August 10, 2017 letter containing such contentions.

        177.    On information and belief subject to confirmation after opportunity for

investigation and discovery, Defendant Gillespie had notice of a pattern of unconstitutional acts

based on information provided to her by Defendants Rosen, Sterling, and/or Cloud about Legal

Aid's contentions recited in Paragraphs 44 to 62 that ADHS unlawfully terminated or reduced

the ARChoices benefits of beneficiaries who appealed adverse agency action within 10 days and

that such terminations or reductions harmed ARChoices beneficiaries.

        178.    Defendant Gillespie was deliberately indifferent to ADHS's custom, policy, or

practice of reducing or terminating Medicaid benefits prior to an evidentiary hearing because she

did not propose or implement any process, procedure, training, or oversight to ensure continuing

Medicaid services upon timely appeal despite having authority to do so.

        179.    On information and belief subject to confirmation after opportunity for

investigation or discovery, Defendant Gillespie was deliberately indifferent to ADHS's custom,

policy, or practice of reducing or terminating Medicaid benefits prior to an evidentiary hearing

because she authorized others to restore, reinstate, or continue the services of beneficiaries only

where the beneficiary retained counsel who communicated with ADHS, which is a custom,

practice, or policy that is unlawful.




                                                -36-
      Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 37 of 101



       180.     Defendant Gillespie's deliberate indifference to ADHS 's custom, policy, or

practice of reducing or terminating Medicaid benefits prior to an evidentiary hearing harmed Ms.

Elder because she filed a timely appeal without counsel, had her Medicaid services terminated,

and, as a result, suffered the harms alleged in this Complaint.

                                   X. PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court grant the following relief:

       1.      Upon motion by the Plaintiff, issue a temporary restraining order and/or a

preliminary injunction requiring that Defendant Gillespie in her official capacity reinstate Ms.

Eider's ARChoices Medicaid.

       2.      Issue a declaratory judgment pursuant to 28 U.S.C. § 2201 and Fed. R. Civ. P. 57

that Defendants' actions, policies, procedures and practices as alleged herein are in violation of

the Fourteenth Amendment of the U.S. Constitution.

       3.      Grant a permanent injunction that orders Defendant Gillespie in her official

capacity to reinstate Ms. Eider's ARChoices Medicaid and to implement a process to ensure that

Ms. Elder and other Medicaid beneficiaries who timely appeal adverse agency actions receive

continuing benefits pending the outcome of the evidentiary hearing.

       4.      Grant a money judgment representing compensatory damages, including for all

expenses incurred by Ms. Elder as a result of the loss of AR Choices, the value of the AR Choices

services withheld, costs for delays in medically necessary care, mental anguish, physical

suffering, and other compensatory damages. The amount of damages is to be determined at trial.

       5.      Grant a money judgment representing punitive damages for Defendants' willful

violations of the United States Constitution. The amount of damages is to be determined at trial.




                                                -37-
      Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 38 of 101



       6.      Grant a money judgment representing pre-judgment and post-judgment interest, if

applicable.

       7.      Award the Plaintiffs the costs of this action and reasonable attorney's fees

pursuant to 42 U.S.C. § 1988.

       8.      Retain jurisdiction over this action to ensure Defendants' compliance with the

with the Court's orders.

       9.      Waive the requirement for the posting of a bond as security for the entry of relief.

       10.     Provide such other relief as the Court deems to be just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury of all issues in this action and reserves the right to amend

this Complaint, including, but not limited to, additional counts, plaintiffs, and facts supportive of

damage claims as discovery develops.

DATED: May 23, 2019

                                                              Respectfully Submitted,

                                                             ·~ ) ~ /
                                                              Trevor Hawkins

                                                              Kevin De Liban (2012044)
                                                              kdeliban@arlegalaid.org
                                                              LEGAL AID OF ARKANSAS
                                                              310 Mid-Continent Plaza, Suite 420
                                                              West Memphis, AR 72301
                                                              P: (800) 967-9224 x. 2206
                                                              F: (870) 732-6373

                                                              Trevor Hawkins (2017224)
                                                              thawkins@arlegalaid.org
                                                              LEGAL AID OF ARKANSAS
                                                              714 S. Main St.
                                                              Jonesboro, AR 72401
                                                              p: (800) 967-9224 X. 6313
                                                              F: (870) 910-5562

                                                -38-
                   Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 39 of 101
4/25/2019                                    Legal Aid of Arkansas Mail - RE : FW: Case No. 20161048, •   v. DHSKevin




                                                                                             Kevin De Liban <kdeliban@arlegalaid.org>



  RE: FW: Case No. 20161048,                      '1111 v. DHSKevin
  Kevin De Liban <kdeliban@arlegalaid .org>                                                Fri , Apr 8, 2016 at 2:23 PM
  To: Angela Foster <Angela.Foster@dhs.arkansas.gov>, Lisa McGee <lisa.mcgee@dhs.arkansas.gov>
  Cc: Rich Rosen <Rich.Rosen@dhs.arkansas.gov>

    Dear Rich and Lisa:

    I just left Rich a voice message about this and am copying Lisa in case Rich is out of the office. I really would like to get
    this resolved without me having to escalate. Mr. KIii is 79 years old, functionally deaf, and illiterate. He also has kidney
    failure and other physical ailments. He qualified fo~lders Choices services in 2015. This year, upon re-evaluation , the
    agency determined that he no longer meets the eligibility criteria and sent a notice terminating his benefits. The notice
    was dated 1/27/16 (see attached) , though it's not clear when it was sent.

    As you know, claimants have a federally protected right to have Medicaid services maintained at the pre-
    termination/reduction levels if they file a fair heari~i!:;quest within 10 days. See 42 CFR 431 .230. That is a right that is
    enforceable using constitutional due process. Mr. 1<1111 filed his fair hearing request on 2/5/16 , as evidenced by the
    datestamp in the lower right-hand corner of the document. That is within the 10-day window. He affirmed that he wanted
    services continued pending a hearing decision.

    Despite having timely filed his notice of appeal , the agency terminated his Medicaid . Mr. KIii is now left without the
    needed attendant care . Also importantly, he has a cardiology appointment this coming Wednesday to which he requires
    transport. He will miss it if his Medicaid is not turned back on.

    On 3/30/16, I provided Angie the same documents attached to this email , which is all the proof she shou ld need to restore
    his Medicaid. It is still not back on , and Angie is out sick today. Apparently, the agency is treating the datestamp on the
    notice of appeal as insufficient and wants some additional confirmation from OAH .

    I have no more time for patience. I can't play with my client's health. The maintenance of services is a clear agency
    obligation. Please just turn his Medicaid back on or tell me what more you need from me (if reasonable) or tell me why he
    is not entitled to have it restored . I really don't want to have to escalate with the agency over something so basic.

    Sincerely,

    Kevin
    [Quoted text hidden]


     2 attachments

     ~      Notices of Action.pdf
            141K

     ~      16.02.05--Notice of Appeal.pdf
            68K




                                                                                                                    Exhibit A
https ://mail.google .com/mail/u/0?ik=426ef5ffc5&view=pt&search=all&permmsgid=msg-f%3A 1531071357533107651 &simpl=msg-f%3A 153107135753...   1/1
                      Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 40 of 101
5123/2019                                         Legal Aid of Mansas Mail - RE: FW: Case No. 20161048, -   - DHSKevin

 ........
  -
 UGAl AID ARKAN~A~                                                                              Kevin De Liban <kdeliban@arlegalaid.org>
              F411I   I IJ   OJ1111i

  RE: FW: Case No. 20161048, K                           •      v. OHS Kevin
  Rich Rosen <Rich.Rosen@dhs.arkansas.gov>                                             Mon, Apr 11, 2016 at 1:20 PM
  To: Kevin De Liban <kdeliban@arlegalaid.org>
  Cc: Angela Foster <Angela.Foster@dhs.arkansas.gov>, Rich Rosen <Rich.Rosen@dhs.arkansas.gov>


    Kevin-



    Mr.     K.     is being reinstated for continuation of services pending appeal. I left a message for you on your voicemail.



    If you have any questions, please advise.



    Richard Rosen

    Arkansas Department of Human Services

    Office of Chief Counsel

    P.O. Box 1437, Slot S260
    Little Rock, AR 72203

    501-320-6334                       Fax: 501-682-1390



    email address is: rich.rosen@dhs.arkansas.gov



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    (Quoted text hidden]




                                                                                                                     Exhibit A
httpsJ/mail.google.com/maiVu/0?ik=426ef5ffc5&view=pt&search=all&permmsgid=msg-f%3A1531339180473634064&simpl=msg..f%3A153133918047.. _   1/1
                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 41 of 101
5/23/2019                                      Legal A.id of Arkansas Mail - Case No. 20161333, L       v. DHS


   •
  LEGALAID ARKANSAS                                                                         Kevin De Liban <kdeliban@arlegalaid.org>



  Case No. 20161333, L                                   v. OHS
  Kevin De Liban <kdeliban@ar1egalaid.org>                                               Fri, Apr 15, 2016 at 6:23 PM
  To: Brooks White <Brooks.White@dhs.arkansas.gov>, Rich Rosen <Rich.Rosen@dhs.arkansas.gov>

    Dear Rich and Brooks:

    Mr. L - - is an MPD (now, AR Choices) beneficiary who had his hours cut from 56 weekly to 32 weekly. As you
    can ~ attached documents, he requested an appeal within 10 days of receipt of his plan of care and
    specifically requested that his present level of services be maintained. Accordingly, pursuant to 42 CFR 431 .220 and MS
    Policy Manual L-120, the agency is required to maintain his present level of services until an adverse hearing decision is
    rendered .

    Today, Palco, the company with which OHS contracts to administer the provision of personal care hours, sent a case
    manager out to my client's home with a budget of 32 weekly hours. This indicates that the agency did not properly
    process Mr. L - request for the maintenance of services.

    Rich has recently encountered the agency's failure to maintain services on another client and was very helpful in
    resolving the agency's error. Please take action as soon as possible to ensure that Mr. L - services are
    reinstated to their full level pending the hearing outcome. Thank you.

    Kevin



    Kevin De Liban
    Staff Attorney
    Legal Aid of Arkansas
    310 Mid-Continent Plaza, Suite 420
    West Memphis, AR 72301
    Phone: (870) 732-6370 x. 2206
    Cell: (901) 834-0436
    Fax: (870) 732-6373

     2 attachments
     ~      16.03.07-to OHS-notice of appeal w FAX CONFIRMATION.pdf
            93K
     ~      New Plan of Care.pdf
            469K




                                                                                                                 Exhibit B
https //mail.google.com/mail/u/0?ik=426ef5ffc5&view=pt&search=all&permmsgid=msg-f%3A 1531720592731344426&simpl=msg-f%3A153172059273 . .   1/1
5/23/2019



   •
                 Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 42 of 101
                                           Legal Aid of Arkansas Mail - ..URGENT.. ,   J-   v. OHS, Case No. 20161238




  LEGALAID ARKAN~A~                                                                         Kevin De Liban <kdeliban@arlegalaid.org>
             fii I m11 nju,ti

  **URGENT**,            J - v . OHS, Case No. 20161238
  Kevin De Liban <kdeliban@arlegalaid.org>                                          Wed, Apr 27, 2016 at 6:28 PM
  To: Amanda land <Amanda.Land@dhs.arkansas.gov>, Otis Hogan <Otis.Hogan@dhs.arkansas.gov>, Rich Rosen
  <Rich.Rosen@dhs.arkansas.gov>

    Dear Mr. Hogan, Mr. Rosen, and Ms. land:

    Mr. Hogan, I am including you in the hopes that you may direct the agency to take immediate action to restore Ms. . . .
    to her pre-reduction number of attendant care hours in this emergency situation, which is 46 per week.




                                      J-
    Prior to the recent ArPath re-evaluation, Ms.    -al had been entitled to 92 hours of attendant care services every two
    weeks under the ArChoices/Elders Choice program (46 hours per week). See Page 1 of attachment. According to the plan
    of care issued on February 24 pursuant to the re-evaluation, this amount was reduced to 153 per month (35 per week).
    See Page 2 of attachment. Ms.             son, ~ ~ , her lawful power of attorney, appealed this decision with a
    letter that OAH received on Mar~ee Page3of adaciiment. Notably, this was within the 10-day window for
    continued receipt of services as required by 42 C.F.R. 431.230, which provides that "the agency may not terminate
    or reduce services until a decision is rendered after the hearing." See also MS Policy L-120. Then, on April 8, I
    entered my notice of appearance and specifically requested that Ms.           JIIII
                                                                                  services be continued at previous levels until
    the hearing decision is issued. See Page 4 of attachment.

    Unfortunatel.theagency failed to maintain services, and the agency's failure is now costing Ms. ~ her health and
    safety. Ms. J        is bed-ridden, nourished through a feeding tube, has Alzheimer's, and can no longer speak
    meaningfully. er care is provided by ArChoices-provided paid caregivers while her son works. Her son provides all of her
    care outside of that provided through ArChoices. Today, her son received a call at work from the caregivers informing him
    that Palco was denying them payment for time worked. They threatened to walk off~he·ob. They also threatened not to
    come provide any more care for Ms. 1-1111 without assurances of payment. Mr.               had to take a break to try and
    work things out with the caregivers ancf"speak with Palco to darify the situation, but a co has in its system authorization
    for only 35 hours per week of care.

    Mr. w•                               w•
                cannot just leave his job at any time or take any needed day off without notice to care for his mother. But,
    thanks"to'The agency's failure, Mr.         is now in a position of having to take time off work that may threaten his
    continued employment or risk leaving-m;i mom unattended. He should not be forced into such a situation when he has
    done everything required under the law to maintain Ms. J       1111 previous level of services.

    This is my third case in the last three weeks where the agency has not continued services at the pre-reduction levels
    despite timely fair hearing requests. Mr. Rosen has been involved in getting the other two restored. The agency is playing
    with individuals' lives and livelihoods. Clients who are lucky enough to come to Legal Aid have some recourse, but I can
    only imagine the challenges for all those that don't. Accordingly, I would highly recommend the agency immediately



    In the meanwhile, please make sure Ms.        J-
    institute measures to guarantee that individuals who file fair hearing requests within 10 days of receipt of notice of adverse
    action have their service levels maintained at the pre-adverse action levels.

                                                    is reinstated to 46 hours per weeks of care pending a hearing decision,
    as required by federal law. And, please make"sure Palco knows this so that the situation with her paid caregivers can be
    resolved on Thursday.

    Respectfully,

    Kevin


    Kevin De Liban
    Staff Attorney
    Legal Aid of Arkansas
    310 Mid-Continent Plaza, Suite 420
    West Memphis, AR 72301
    Phone: (870) 732-6370 x. 2206
    Cell: (901) 834-0436
    Fax: (870) 732-6373                                                                                            Exhibit C
https://mail .google.com/mail/u/O?ik=426ef5ffc5&view=pl&search=all&permmsgid=msg-f%3A1532808087805400340&simpl=msg-f%3A153280808780...   1/2
5/23/2019



     ~ J
                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 43 of 101
                                           Legal Aid of Arkansas Mail - *'URGENT"*,



            1111 E-mail Attachment.pelf 251 K
                                                                                      J-   v. DHS, Case No. 20161238




                                                                                                                  Exhibit C
https://mail .google.com/mail/u/0?ik=426ef5ffc5&view=pl&search=all&permmsgid=msg-f%3A 1532808087805400340&simpl=msg-f%3A153280808780.. .   2/2
                   Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 44 of 101
4/25/2019                                Legal Aid of Arkansas Mail - "Sensitive" Continuance of Hearing for D.W. #20162674




  LEGAL AID ARKAN~A~                                                                         Kevin De Liban <kdeliban@arlegalaid.org>
               fq, I mo, )u,ri f

  "Sensitive" Continuance of Hearing for D.W. #2016267 4
  Kevin De Liban <kdeliban@arlegalaid.org>                                                                     Thu , Jul 28, 2016 at 10:38 AM
  To: Brooks White <Brooks.White@dhs.arkansas.gov>
  Cc: Rich Rosen <Rich .Rosen@dhs .arkansas.gov>

    Hi Brooks. I am contending both that he is entitled to continuing benefits pending the hearing outcome for two reasons :

    (1) He requested a hearing within 10 days of receipt of the plan of care and . He received the plan of care on 4/25 and
    mailed his appeal request on 4/28 . OHS received it on 5/3. See attached . There are ways this fact pattern can work under
    either 42 CFR 431 .230 or .231 .

    (2) The plan of care states that "If you are currently receiving Medicaid assistance and request a hearing no later than 30
    days from the business day following the postmark on the envelope with the plan of care that contains a revision which
    you wish to appeal , your assistance may continue at its present level pending a decision on your appeal." This
    independently creates a right to continued benefits.

    I appreciate your prompt reinstatement of Mr.     viii
                                                        benefits. There's no need for additional delay in the case of this
    highly vulnerable individual who has quadriplegia and is totally dependent on others, especially where you requested the
    continuance due to your unit's staffing issues.

    Best,

    Kevin
   [Quoted text hidden]


     ~      Client Appeal.PDF
            65K




                                                                                                                      Exhibit D
https://mail.google.com/mail/u/0?ik=426ef5ffc5&view=pt&search=all&permmsgid=msg-f%3A 1541113457864617923&simpl=msg-f%3A 1541113457864...    1/1
                   Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 45 of 101
4/25/2019                                              Legal Aid of Arkansas Mail - ARChoices Hour Restorations




  LEGAL AID ARKAN~A~                                                                          Kevin De Liban <kdeliban@arlegalaid.org>
              f1 ~I m 110 )unict

  ARChoices Hour Restorations
  2 messages

  Kevin De Liban <kdeliban@arlegalaid .org>                                                 Fri , Sep 23 , 2016 at 2:52 AM
  To: Rich Rosen <Rich .Rosen@dhs .arkansas.gov> , Robert Briggs <Robert.Briggs@dhs.arkansas.gov>

    Dear Rich and Bob:

    Pursuant to 42 CFR 431 .230, the following AR Choices appellants have all requested that their hours be restored to pre-
    reduction levels pending the outcome of the hearing :

    D.1(20165944) [assigned to Bob]

    M - S - (20167214) [assigned to Bob]

    M I i i D - ( d o b - ) [unknown assignment]

   TIIII D - (20165312) [unknown assignment]

    My last information is that none of them has had his/her hours restored . Please look into this and restore the hours as
    soon as you can. Thank you .

    Kevin


    Kevin De Liban , Staff Attorney
    Legal Aid of Arkansas--West Memphis
    310 Mid-Continent Plaza , Suite 420
    West Memphis, AR 72301
    Phone: (870) 732-6370 x. 2206
    Cell : (901) 834-0436
    Fax: (870) 732-6373
    Web I Facebook I Twitter


  Rich Rosen <Rich .Rosen@dhs .arkansas.gov>                                               Wed , Sep 28 , 2016 at 3:29 PM
  To: Kevin De Liban <kdeliban@arlegalaid.org>, Amy Pritchard <apritchard@arlegalaid .org>
  Cc: Rich Rosen <Rich.Rosen@dhs.arkansas .gov> , Robert Briggs <Robert.Briggs@dhs.arkansas.gov>


    Kevin & Amy-



    Our records show the services were restored.



    Richard Rosen

    Arkansas Department of Human Services

    Office of Chief Counsel

    P.O . Box 1437, Slot S260

    Little Rock, AR 72203

    501-320-6334                   Fax: 501-682-1390                                                                Exhibit E
https://mail.google .com/mail/u/0?ik=426ef5ffc5&view=pt&search=all&permthid=thread-f%3A 1546248157812290097&simpl=msg-f%3A 154624815781 . .   1/2
                   Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 46 of 101
4/25/2019                                            Legal Aid of Arkansas Mail - ARChoices Hour Restorations



    email address is: rich.rosen@dhs.arkansas.gov



    SENSITIVE



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    [Quoted text hidden]
    The Arkansas Department of Human Services has determined that this message may contain confidential or
    otherwise protected information. We have used transport encryption to help protect this message while in transit
    to you. Please take all reasonable measures to protect any protected or confidential data that might be in this
    message, including the limitation of re-disclosure to the minimum number of recipients necessary. Please report
    any inappropriate disclosure to https:1/dhs.arkansas.gov/reporting or as required by law.




                                                                                                                   Exhibit E
https://mail.google .com/mail/u/0?ik=426ef5ffc5&view=pt&search=all&permthid=thread-f%3A 1546248157812290097&simpl=msg-f%3A154624815781 ...   2/2
                      Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 47 of 101
4/25/2019                                           Legal Aid of Arkansas Mail - HCBS Case Hour Restorations




  LEGAL AID fARKAN~A~                                                                      Kevin De Liban <kdeliban@arlegalaid.org>
               Eo~I   m,10 Ju,,,,
  HCBS Case Hour Restorations
  Casey Trzcinski <ctrzcinski@arlegalaid.org>                                                                  Mon, Sep 26, 2016 at 4:30 PM
  To: Rich Rosen <Rich.Rosen@dhs .arkansas.gov>
  Cc: Kevin De Liban <kdeliban@arlegalaid.org>

    Hi Rich,

    Because of the new notices, and subsequent new appeals, we continue to have issues regarding hour reinstatements.
    The appellants listed below requested reinstatement in their appeals, and have not yet received it. Can you please give
    me an update on the status of returning hours to these appellants as soon as possible? Thank you .

                         (20166984)--White/Trzcinski
                         (20166985)--White/Trzcinski
                        (20167073)--????/Trzcinski
                         (????)--????/De Liban
                         0167009)--Windle/Trzcinski
                           (????)--???/Trzcinski
                          (????)--????/De Liban
                         165944 )--Briggs/De Lib an
                           (????)--????/De Liban
                               (20165618)--Afsordeh/De Liban




    On Thu , Aug 18, 2016 at 4:34 PM, Rich Rosen <Rich .Rosen@dhs .arkansas.gov> wrote:
    [Quoted text hidden]




    Casey Trzcinski
    Staff Attorney
    Legal Aid of Arkansas - Springdale
    479-442-0600 ext. 4302
    Web I FacebooklTwitter




                                                                                                                    Exhibit F
https://mail .google .com/mail/u/0?ik=426ef5ffc5&view=pt&search=all&permmsgid=msg-f%3A 1546571426652215788&simpl=msg-f%3A154657142665...   1/1
 ...
4/25/2019
                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 48 of 101



  LEGALAl DefARKANSA~
             Ell IAm110Ju11ic,
                                                Legal Aid of Arkansas Mail - Fwd: Continued services in HCBS cases




                                                                                            Kevin De Liban <kdeliban@arlegalaid.org>



  Fwd: Continued services in HCBS cases
  Casey Trzcinski <ctrzcinski@arlegalaid .org>                                                                  Thu, Oct 6 , 2016 at 9:35 AM
  To : Kevin De Liban <kdeliban@arlegalaid.org>

    Just FYI- this has been happening. I've been trying to give clients a heads up about it. Brooks, Bob, and Nick are the
    attorneys working these three cases and I brought it up with them , but haven't gotten any response yet.

    ---------- Forwarded message----------
    From: Casey Trzcinski <ctrzcinski @arlegalaid.org>
    Date: Wed, Oct 5, 2016 at 5:01 PM
    Subject: Continued services in HCBS cases
    To : Rich Rosen <Rich .Rosen@dhs.arkansas.gov>


    Rich ,

    I have heard the same alarming story from three of my clients this week regarding their requests for reinstatement of their
    hours pending outcome of their ARChoices appeals. I wanted to bring this matter to your attention and ask for your help in
    remedying it as soon as possible.

    My clients are telling me that the assessing nurse is calling them to "make sure they really want continued services" and
    emphasizing that "because, you know if you lose you'll have to pay it back." My clients who were cognizant enough to
    assess the situation felt that they were being actively discouraged from seeking reinstatement. My client who is less
    mentally sharp (which the nurse is aware of, because she assessed her as "cognitively impaired" in her most recent
    assessment) was scared and confused and felt pressured into rejecting continued services, after previously decided that
    she did want continued services when we spoke. The option of continued services is something we discuss at great length
    with our clients. We allow them to ask questions, answer them , and facilitate and informed decision .

    This is wildly inappropriate and raises serious questions about party communications with a represented person, as well as
    inaccurate legal advice given by a non-attorney to a represented party. I understand if you need some additional paperwork
    signed when a potential debt is at stake, and I would be happy to go over this form with my clients and return it to the
    agency. However, these forms are being discussed by an adverse, non-attorney party with no mention at all to counsel.
    This is even more alarming in light of the fact that the non-attorney, adverse party rendering this inaccurate legal advice is
    the only witness the agency uses at its administrative hearings. The assessing nurse is quite literally the face of the
    adverse party to these clients.

    In the future, please direct the Office of Long Term Care representatives to contact us regarding any communications with
    our clients on appeal-related matters if the appeal has not yet been resolved .


    Casey Trzcinski
    Staff Attorney
    Legal Aid of Arkansas - SRringdale
    4 79-442-0600 ext. 4302
    Web I Facebook l Twitter




    Casey Trzcinski
    Staff Attorney
    Legal Aid of Arkansas - SRringdale
    479-442-0600 ext. 4302
    Web I Facebook l Twitter
                                                                                                                     Exhibit G
https://mail .google.com/mail/u/0?ik=426ef5ffc5&view=pt&search=all&permmsgid=msg-f%3A 1547451252591018050&simpl=msg-f%3A 154745125259...   1/2
                 Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 49 of 101
4/25/2019                                       Legal Aid of Arkansas Mail - Fwd : Continued services in HCBS cases




                                                                                                                      Exhibit G
https://mail.google .com/mail/u/0?ik=426ef5ffc5&view=pt&search=all&permmsgid=msg-f%3A 1547451252591018050&simpl=msg-f%3A 154745125259...   2/2
                   Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 50 of 101
5/21/2019                                 Legal Aid of Arkansas Mail - ARChoices Hour Restoration Pending Appeal--S.V.S.




  LEGAL AID/ ARKANSAS                                                                       Kevin De Liban <kdeliban@arlegalaid.org>
              f~, I «co c )uni •

  ARChoices Hour Restoration Pending Appeal--5.V.S.
  Kevin De Liban <kdeliban@arlegalaid.org>                                                                   Wed , Apr 12, 2017 at 2:46 PM
  To : Rich Rosen <Rich .Rosen@dhs .arkansas.gov>

    Dear Rich :

    My client, S - v          •
                            S _, was informed her hours would be reduced pursuant to RUGs . I filed the attached
    notice of appeaion her beha!T"oii""4/7 /17 and specifically requested that her hours be maintained at pre-reduction levels
    pending the appeal. However, Palco has informed her that it is only authorized to pay the reduced number of hours, 161
    hours per month (down from the 242 she has been receiving) .

    Please look into this and ensure that her hours are maintained so that the agency comports with the requirements of 42
    CFR 431.230 . Thanks for your prompt attention.

    Best,

    Kevin


    Kevin De Liban, Staff Attorney
    Legal Aid of Arkansas--West Memphis
    310 Mid-Continent Plaza, Suite 420
    West Memphis, AR 72301
    Phone: (870) 732-6370 x. 2206
    Cell : (901) 834-0436
    Fax: (870) 732-6373
    Web I Facebook I Twitter

     2 attachments
     ~ 17.04.07--~ ~ - - t o DHS--notice of appearance.pdf
       219K

     ~ •       ~ - - D H S HIPAA--Updated.pdf




                                                                                                                     Exhibit H
https://ma il.google .com/mail/u/0?ik=426ef5ffc5&view=pt&search=all&permmsgid=msg-f%3A 1564503052579572572&simpl=msg-f%3A 156450305257...   1/1
                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 51 of 101
5/21/2019                                   Legal Aid of Arkansas Mail - ARChoices Hour Restoration Pending Appeal--S.V.S.




  LEGALAl D ARKAN~A~                                                                          Kevin De Liban <kdeliban@arlegalaid.org>
             fi• I mu ,o )u11ir,

  ARChoices Hour Restoration Pending Appeal--5.V.5.
  Rich Rosen <Rich.Rosen@dhs .arkansas.gov>                                                                    Wed, Apr 12, 2017 at4 :24 PM
  To: Kevin De Liban <kdeliban@arlegalaid.org>
  Cc: Rich Rosen <Rich.Rosen@dhs .arkansas.gov>


    Kevin-



    As this matter was just appealed within the last several days, I instructed DAAS to restore the hours pending the
    hearing as requested in your April 7, 2017 notice of appeal letter attached to the email. PALCO will be informed no
    later than tomorrow morning.



    I am glad we were able to address this issue quickly.



    Richard Rosen

    Arkansas Department of Human Services

    Office of Chief Counsel

    P.O . Box 1437, Slot S260

    Little Rock, AR 72203

    501-320-6334                   Fax: 501-682-1390



    email address is: rich.rosen@dhs.arkansas .gov



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    error, please notify the sender by return and delete the message and attachment(s) from your system.




    From: Kevin De Liban [mailto:kde liban@ arleg alaid. org ]
    Sent: Wednesday, April 12, 2017 2:46 PM
    To: Rich Rosen <Rich .Rosen@dhs .a rkansas .g ov>
    Subject: ARChoices Hour Restoration Pending Appeal--S.V.S .                                                       Exhibit H
https://mail.google .com/mail/u/0?ik=426ef5ffc5&view=pt&search=all&permmsgid=msg-f%3A 1564509241530153005&dsqt=1 &simpl=msg-f%3A 156450...   1/2
                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 52 of 101
5/21/2019                                 Legal Aid of Arkansas Mail - ARChoices Hour Restoration Pending Appeal--S.V.S.



    Dear Rich :



    My client, ~ \ I I ~. was informed her hours would be reduced pursuant to RUGs . I filed the attached notice
    of appeal ori'ti'er b e l i ' a l ~ and specifically requested that her hours be maintained at pre-reduction levels pending
    the appeal. However, Palco has informed her that it is only authorized to pay the reduced number of hours, 161 hours per
    month (down from the 242 she has been receiving) .



    Please look into this and ensure that her hours are maintained so that the agency comports with the requirements of 42
    CFR 431 .230. Thanks for your prompt attention.



    Best,



    Kevin




    Kevin De Liban, Staff Attorney

    Legal Aid of Arkansas--West Memphis

    310 Mid-Continent Plaza, Suite 420

    West Memphis, AR 72301

    Phone: (870) 732-6370 x. 2206

    Cell: (901) 834-0436

    Fax: (870) 732-6373

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    to you. Please take all reasonable measures to protect any protected or confidential data that might be in this
    message, including the limitation of re-disclosure to the minimum number of recipients necessary. Please report
    any inappropriate disclosure to https://dhs.arkansas .gov/reporti ng or as required by law.




                                                                                                                    Exhibit H
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                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 53 of 101
5/21/2019                                  Legal Aid of Arkansas Mail - ARChoices Hour Restoration Pending Appeal--S.V.S.




                                                                                             Kevin De Liban <kdeliban@arlegalaid.org>



  ARChoices Hour Restoration Pending Appeal--5.V.S.
  Kevin De Liban <kdeliban@arlegalaid .org>                                                                   Wed , Apr 12, 2017 at 5:18 PM
  To: Rich Rosen <Rich.Rosen@dhs.arkansas.gov>

    Thanks, Rich . I hope there's a process in place for OAH to notify the relevant part of OHS to maintain benefit levels on
    appeals when required . It would certainly work better for everyone if OHS met its obligations without requiring clients to
    contact an attorney to then contact a OHS attorney.

    On Wed , Apr 12, 2017 at 4:24 PM, Rich Rosen <Ri ch.Rosen@dhs.arkansas.gov> wrote:

       Kevin-



       As this matter was just appealed within the last several days, I instructed DAAS to restore the hours pending the
       hearing as requested in your April 7, 2017 notice of appeal letter attached to the email. PALCO will be informed no
       later than tomorrow morning.



       I am glad we were able to address this issue quickly.



       Richard Rosen

       Arkansas Department of Human Services

       Office of Chief Counsel

       P.O. Box 1437, Slot S260

       Little Rock, AR 72203

       501-320-6334              Fax: 501-682-1390



       email address is: rich .rosen@dhs.arkansas .gov



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                                                                                                                      Exhibit H
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                 Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 54 of 101
5/21/2019                                 Legal Aid of Arkansas Mail - ARChoices Hour Restoration Pending Appeal--S.V.S .

       From: Kevin De Liban [mailto:kdeliban@arlegalaid .org]
       Sent: Wednesday, April 12, 2017 2:46 PM
      To: Rich Rosen <Rich.Rosen@dhs.arkansas .gov>
      Subject: ARChoices Hour Restora on Pending Appeal--S.V.S.



       Dear Rich:



       My client, S - v     •  S _ , was informed her hours would be reduced pursuant to RUGs. I filed the attached
       notice of appeal on her behalf on 4/7 /17 and specifically requested that her hours be maintained at pre-reduction levels
       pending the appeal. However, Palco has informed her that it is only authorized to pay the reduced number of hours,
       161 hours per month (down from the 242 she has been receiving) .



       Please look into this and ensure that her hours are maintained so that the agency comports with the requirements of 42
       CFR 431 .230. Thanks for your prompt attention.



       Best,



       Kevin




       Kevin De Liban, Staff Attorney

       Legal Aid of Arkansas--West Memphis

       310 Mid-Continent Plaza, Suite 420

      West Memphis, AR 72301

       Phone: (870) 732-6370 x. 2206

      Cell : (901) 834-0436

       Fax: (870) 732-6373

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                                                                                                                      Exhibit H
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                    Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 55 of 101
5/21/2019                                               Legal Aid of Arkansas Mail - 10-Day Reinstatements

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  ltGAL AID1.ARKAN~A~
               f~1J1 Aw11 10jij11ic,
                                                                                            Kevin De Liban <kdeliban@arlegalaid.org>



  10-Day Reinstatements
  Kevin De Liban <kdeliban@arlegalaid.org>                                                 Wed, Jun 21, 2017 at4:12 PM
  To: Rich Rosen <Rich.Rosen@dhs.arkansas.gov>, Casey Trzcinski <ctrzcinski@arlegalaid.org>, Amy Pritchard
  <apritchard@arlegalaid.org>

    Dear Rich :

       d   I filed the attached appeals with OAH for two clients facing ARChoices hour reductions, AIIII K - and
             D       . They are both well within the 10-day timeframe for continuing services, yet the care agen~r each
    have a reallarted to implement the reductions or plan to do so soon. Please make sure those reductions are not
    -implemented.

    Also, as we have discussed in the past, I would encourage the agency to improve the communications between its
    various employees to ensure that reductions are not implemented before the 10 days from the date of the notice of action.
    In the majority of our clients cases, reductions are implemented immediately after the plan of care is finalized and sent to
    the provider agency or Palco. This violates clients' rights to 10-day notice, 42 CFR 431.211, and to continued services
    pending appeal. 42 CFR 431 .230. Also, whatever disagreements persist between the agency and Legal Aid as to the
    substantive adequacy of the notices, the notices clearly lack the required "the effective date of such action." 42 CFR
    431 .210.

    Even if eventually restored once an Office of Chief Counsel attorney is assigned to the case, the unlawful reductions still
    disrupt clients' lives. Premature reductions force them to re-do billing papers, arrange for unpaid care (if anyone is
    available to provide it), live without care , and generally fret about their well-being and safety. DHS's compliance with its
    clear obligations would remove such disruptions.

    As always, Legal Aid is available to consult with the agency to ensure that it meets its obligations under relevant Medicaid
    and constitutional law. We thank you for your attention .

    Best,

    Kevin


    Kevin De Liban, Staff Attorney
    Legal Aid of Arkansas--West Memphis
    310 Mid-Continent Plaza, Suite 420
    West Memphis, AR 72301
    Phone: (870) 732-6370 x. 2206
    Cell: (901) 834-0436
    Fax: (870) 732-6373
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     2 attachments
     t:J    17.06.21--to DHS--notice of appearance--K~, A~.pdf
            219K
     t:)    17.06.21--to DHS--notice of appearance--DIII, 111111111-Pdf
            219K




                                                                                                                     Exhibit I
hl!ps:1/mail .google .com/maiVu/O?ik=426ef5ffc5&view=pt&search=all&permmsgid=msg-f%3A ·15 708 50252339858572&simpl=msg-f%3A 157085025233. .   1/1
                     Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 56 of 101
5/23/2019                                                Legal Nd of Arkansas Mail - 10-Day Reinstatements

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  LEGAL Al D ARKAN~A~                                                                       Kevin De Liban <kdeliban@arlegalaid.org>
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  10-Day Reinstatements
  Rich Rosen <Rich.Rosen@dhs.arkansas.gov>                                                                   Thu, Jun 22, 2017 at 4:18 PM
  To: Kevin De Liban <kdeliban@arlegalaid.org>
  Cc: Rich Rosen <Rich.Rosen@dhs.arkansas.gov>


    The care agencies have been advised to con nue the recipient's hours.



    Richard Rosen

    Arkansas Department of Human Services

    Office of Chief Counsel

    P.O . Box 1437, Slot S260

    Little Rock, AR 72203

    501-320-6334                     Fax: 501-682-1390



    email address is: rich .rosen@dhs.arkansas.gov



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    From: Kevin De Liban [mailto:kdel iban@arlegalaid .org]
    Sent: Wednesday, June 21, 2017 4:12 PM
    To: Rich Rosen <Rich.Rosen@dhs.arkansas.gov>; Casey Trzcinski <ctrzcinski@arlegalaid.org>; Amy Pritchard
    <a pritchard@arlegalaid .org>
    Subject: 10-Day Reinstatements




                                                                                                                      K-
    Dear Rich:



    ~ I filed the attached appeals with OAH for two clients facing ARChoices hour reductions, AIIII          and
    ~ D • . They are both well within the 10-day timeframe for continuing services, yet the care agencies'Tor each
                                                                                                                   Exhibit I
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                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 57 of 101
5/23/2019                                                Legal Aid of Arkansas Mail - 10-Day Reinstatements

    have already started to implement the reductions or plan to do so soon . Please make sure those reductions are not
    implemented .



    Also , as we have discussed in the past, I would encourage the agency to improve the communications between its
    various employees to ensure that reductions are not implemented before the 10 days from the date of the notice of action.
    In the majority of our clients cases, reductions are implemented immediately after the plan of care is finalized and sent to
    the provider agency or Palco. This violates clients' rights to 10-day notice, 42 CFR 431.211 , and to continued services
    pending appeal. 42 CFR 431 .230. Also , whatever disagreements persist between the agency and Legal Aid as to the
    substantive adequacy of the notices, the notices clearly lack the required "the effective date of such action." 42 CFR
    431 .210.



    Even if eventually restored once an Office of Chief Counsel attorney is assigned to the case, the unlawful
    reductions still disrupt clients' lives. Premature reductions force them to re-do billing papers, arrange for unpaid care (if
    anyone is available to provide it) , live without care, and generally fret about their well-being and safety. DHS's
    compliance with its clear obl igations would remove such disruptions.



    As always, Legal Aid is available to consult with the agency to ensure that it meets its obligations under relevant Medicaid
    and constitutional law. We thank you for your attention.



    Best,


    Kevin




    Kevin De Liban , Staff Attorney

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                    Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 58 of 101

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5/21/2019



 -lEGAl AIDr.ft\RKAN~A~
                                                           Legal Aid of Arkansas Mail - 10-Day Reinstatements



                                                                                               Kevin De Liban <kdeliban@arlegalaid.org>
              fq1.1I Am11 ,~ ju11ic,

  10-Day Reinstatements
  Kevin De Liban <kdeliban@arlegalaid.org>                                                 Fri, Jun 23, 2017 at 10:06 AM
  To: Rich Rosen <Rich.Rosen@dhs.arkansas.gov>, Casey Trzcinski <ctrzcinski@arlegalaid.org>, Amy Pritchard
  <apritchard@arlegalaid.org>

    Thanks, Rich. I appreciate the help on the cases of Ms. K - and Ms. D -. Here are several other clients
    whose hours weren't continued immediately or who have su?rer'ed delays in 'resroration:




    Please advise the nurses and care agencies to ensure their hours are continued as well. Again, I would hope the agency
    implements a system-wide resolution to this issue sooner rather than later.

    Kevin




    On Thu, Jun 22, 2017 at 4:18 PM, Rich Rosen <Rich.Rosen@dhs.arkansas.gov> wrote:

       The care agencies have been advised to continue the recipient's hours.



       Richard Rosen

       Arkansas Department of Human Services

       Office of Chief Counsel

       P.O. Box 1437, Slot S260

       Little Rock, AR 72203

       501-320-6334                    Fax: 501-682-1390



       email address is: rich.rosen@dhs. arkansas.gov



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                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 59 of 101
5/21/2019                                                 Legal Aid of Arkansas Mail - 10-Day Reinstatements




       From: Kevin De Liban [mailto:kdeliban@arlegala id.org]
       Sent: Wednesday, June 21, 2017 4:12 PM
       To: Rich Rosen <Rich.Rosen@dhs.arkansas.gov>; Casey Trzcinski <ctrzcinski@arlegalaid .org>; Amy Pritchard
       <apritchard@arlegalaid .org>
       Subject: 10-Day Reinstatements



       Dear Rich:



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                D     . They are both well within the 10-day timeframe for continuing services, yet the care agen~r each
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       Also, as we have discussed in the past, I would encourage the agency to improve the communications between its
       various employees to ensure that reductions are not implemented before the 10 days from the date of the notice of
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       (if anyone is available to provide it), live without care, and generally fret about their well-being and safety. DHS's
       compliance with its clear obligations would remove such disruptions.



       As always, Legal Aid is available to consult with the agency to ensure that it meets its obligations under relevant
       Medicaid and constitutional law. We thank you for your attention.



       Best,


       Kevin



     I --
       Kevin De Liban, Staff Attorney

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       Fax: (870) 732-6373                                                                                             Exhibit J
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                 Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 60 of 101
5/21/2019                                               Legal Aid of Arkansas Mail - 10-Day Reinstatements

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                                                                                                                   Exhibit J
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                 Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 61 of 101
4/25/2019                                                    Legal Aid of Arkansas Mail - AK - Palco




                                                                                            Kevin De Liban <kdeliban@arlegalaid.org>



  AK- Palco
  Rich Rosen <Rich .Rosen@dhs.arkansas.gov>                                                              Mon , Jul 17, 2017 at 12:18 PM
  To: "kdeliban@arlegalaid.org" <kdeliban@arlegalaid.org>
  Cc: Rich Rosen <Rich .Rosen@dhs.arkansas.gov>


    Kevin-



    In follow-u~ telephone conversation early Friday evening, OMS advised PALCO to restore the care plan pending
    AIIII K-ARChoices appeal.



    Richard Rosen

    Arkansas Department of Human Services

    Office of Chief Counsel

    P.O. Box 1437, Slot S260

    Little Rock, AR 72203

    501-320-6334               Fax: 501 -682-1390



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                                                                                                                Exhibit K
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                     Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 62 of 101
5/21/2019                                          Legal Aid of Arkansas Mail - ARChoices Attendant Care Hours




  LEGALAIDifARKAN~A~                                                                       Kevin De Liban <kdeliban@arlegalaid.org>
               ~   ~1 m 10 )u1ti t

  ARChoices Attendant Care Hours
  Kevin De Liban <kdeliban@arlegalaid.org>                                                                       Fri , Jul 21 , 2017 at 4:26 PM
  To: Rich Rosen <Rich .Rosen@dhs .arkansas.gov>

    Dear Rich :

    We filed an appeal for AR Choices beneficiary RIIIIIIII     D11111
                                                                     (dot:tlllllllllll) today, which was within the 10-day window
    for continued services. Please see the attached ti"ea'rl'ng request an~AAS to make sure that Mr. Dlllllhours are
    not reduced until an adverse hearing decision is issued . Thanks for your help.

    Kevin


    Kevin De Liban, Staff Attorney
    Legal Aid of Arkansas--West Memphis
    31 0 Mid-Continent Plaza, Suite 420
    West Memphis, AR 72301
    Phone: (870) 732-6370 x. 2206
    Cell: (901) 834-0436
    Fax: (870) 732-6373
    Web I Facebook I Twitter

     t9     17.07.21--to DHS--notice of appeal--~ Rllll.pdf
            219K




                                                                                                                     Exhibit L
https ://mail .google .com/mail/u/0?ik=426ef5ffc5&view=pt&search=all&permmsgid=msg-f%3A 1573569070568157514&simpl=msg-f%3A 157356907056...    1/1
                     Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 63 of 101
5/21/2019                                           Legal Aid of Arkansas Mail - ARChoices Attendant Care Hours




                                                                                            Kevin De Liban <kdeliban@arlegalaid.org>



  ARChoices Attendant Care Hours
  Rich Rosen <Rich .Rosen@dhs .arkansas.gov>                                                                      Fri , Jul 21 , 2017 at4 :40 PM
  To: Kevin De Liban <kdeliban@arlegalaid .org>

    Kevin-

    I forwarded your email to DAAS and , due to the time, will confirm continuation of services pending appeal on Monday
    morning.

    Sent from my iPhone

    On Jul 21 , 2017 , at 4:26 PM , "Kevin De Liban" <kdeliban@arlegalaid.org> wrote :


             Dear Rich :



             that Mr. 0-
             We filed an appeal for ARChoices beneficiary ~             0-(dob - ) today, which was within the 1O-
              day window for continued services. Please see theattachedhearing request and ask DAAS to make sure
                             hours are not reduced until an adverse hearing decision is issued . Thanks for your help.

             Kevin


             Kevin De Liban, Staff Attorney
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             <17 .07.21--to DHS--notice of appeal--CIIII, Ftlllll -Pdf>




                                                                                                                      Exhibit L
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                     Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 64 of 101
5/21/2019                                                 Legal Aid of Arkansas Mail - 10-Day Reinstatements


   •
  LEGAL AID1.ARKAN~A~                                                                         Kevin De Liban <kdeliban@arlegalaid.org>
               fq,.,1 Am11 co )1111ic<

  10-Day Reinstatements
  Kevin De Liban <kdeliban@arlegalaid.org>                                                 Thu, Jul 27, 2017 at 4:22 PM
  To: Rich Rosen <Rich.Rosen@dhs.arl<ansas.gov>, Nicholas Windle <Nicholas.Windle@dhs.arl<ansas.gov>

     Rich--

    I sent you this list on 6/23 about people whose hours hadn't been restored despite appeal within 10 days of the notice of
    action. ~ ~ hours have still not been restored despite the timely request to maintain services at pre-
    reductionTevefTseeattached notice of appeal with request for continued benefits filed on 5/11/17). The plan of care
    should be backdated to authorize 242 hours per month as of the date of the plan of care was executed.

     I'm copying Nick Windle since he is the attorney assigned to this case.

     Kevin

     On Fri, Jun 23, 2017 at 10:06 AM, Kevin De Liban <kdeliba.arlegalaid.org> wrote:
      Thanks, Rich. I appreciate the help on the cases of Ms. K     and Ms. D_           _Here are several other clients whose
      hours weren't continued immediately or who have suffer    e ays in restora'tioii:'




       Please advise the nurses and care agencies to ensure their hours are continued as well. Again, I would hope the
       agency implements a system-wide resolution to this issue sooner rather than later.

       Kevin




       On Thu, Jun 22, 2017 at 4:18 PM, Rich Rosen <Rich.Rosen@dhs.arkansas.gov> wrote:

            The care agencies have been advised to continue the recipient's hours.



            Richard Rosen

        IArkansas Department of Human Services
            Office of Chief Counsel

            P.O. Box 1437, Slot S260

            Little Rock, AR 72203
        I
            501-320-6334                 Fax: 501-682-1390



            email address is: rich.rosen@dhs.arkansas.gov


                                                                                                                      Exhibit M
https://mail.goog le.com/rnail/u/0?ik=426ef5ffc5&view=pt&search=all&permmsgid=msg-lo/o3A 1574112390384251655&dsqt=1 &simpl=msg-f%3A157411 . . .   1/3
                    Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 65 of 101
5/21/2019                                                Legal Aid of Arkansas Mail - 10-Day Reinstatements

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            From: Kevin De Liban [mailto:kdeliban@arlegalaid .org]
            Sent: Wednesday, June 21, 2017 4:12 PM
            To: Rich Rosen <Rich .Rosen@dhs.arkansas.gov>; Casey Trzcinski <ctrzcinski@arlegalaid.org>; Amy
            Pritchard <apritchard@arlegalaid .org>
            Subject: 10-Day Reinstatements



            Dear Rich:



            Today, I filed the attached appeals with OAH fOr two clients facing ARChoices hour reductions, AIIII K - and
            Tammy D obbs. They are both well within the 10-day timeframe for continuing services, yet the care agenclesror
            each have already started to implement the reductions or plan to do so soon. Please make sure those reductions are
            not implemented.



            Also, as we have discussed in the past, I would encourage the agency to improve the communications between its
            various employees to ensure that reductions are not implemented befOre the 10 days from the date of the notice of
            action. In the majority of our clients cases, reductions are implemented immediately after the plan of care is finalized
            and sent to the provider agency or Palco. This violates clients' rights to 10-day notice, 42 CFR 431.211, and to
            continued services pending appeal. 42 CFR 431 .230. Also, whatever disagreements persist between the agency and
            Legal Aid as to the substantive adequacy of the notices, the notices clearly lack the required "the effective date of
            such action." 42 CFR 431.210.



            Even if eventually restored once an Office of Chief Counsel attorney is assigned to the case, the unlawful
            reductions still disrupt clients' lives. Premature reductions force them to re-do billing papers, arrange fOr unpaid
            care (if anyone is available to provide it), live without care, and generally fret about their well-being and safety.
            DHS's compliance with its clear obligations would remove such disruptions.



            As always, Legal Aid is available to consult with the agency to ensure that it meets its obligations under relevant
            Medicaid and constitutional law. We thank you fOr your attention.



            Best,


            Kevin




                                                                                                                    Exhibit M
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                   Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 66 of 101
5/21/2019                                               Legal Aid of Arkansas Mail - 10-Day Reinstatements

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            Fax: (870) 732-637 3

            Web I Facebook I Twitter

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     ~ 17 .05.11--to DHS--notice of appearance--B- pdf
       219K




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                        Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 67 of 101
5/21/2019                                                  Legal Aid of Arkansas Mail - 10-Day Reinstatements




  LEGAL AID 'ARKAN~A~                                                                           Kevin De Liban <kdeliban@arlegalaid.org>
                f-4   ,1 m , 10 )uiti f

  10-Day Reinstatements
  Nicholas Windle <Nicholas.Windle@dhs.arkansas.gov>                                                                 Fri, Jul 28, 2017 at 9:54 AM
  To: Kevin De Liban <kdeliban@arlegalaid .org>, Rich Rosen <Rich .Rosen@dhs .arkansas.gov>


    Kevin,



    Mr. B - hours were restored on July 7, 2017, effective May 15, 2017 pending the outcome of the
    appeal.




    Office of Chief Counsel

    Arkansas Department of Human Services

    P.O . Box 1437, Slot S260

    Little Rock, AR 72203

    Phone: 501-320-6371

    Facsimile: 501-682-1390

    nicholas.windle@dhs .arkansas.gov

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    From: Kevin De Liban [mailto:kdeliban@arlegalaid .org]
    Sent: Thursday, July 27, 2017 4:23 PM
    To: Rich Rosen; Nicholas Windle
    Subject: Re: 10-Day Reinstatements


    Rich--



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                 Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 68 of 101
5/21/2019                                               Legal Aid of Arkansas Mail - 10-Day Reinstatements

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    On Fri , Jun 23, 2017 at 10:06 AM , Kevin De Liban <kdeliban@arlegalaid .org > wrote :

    Thanks, Rich. I appreciate the help on the cases of Ms. KIIII and Ms. D11111. Here are several other clients whose
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    'Ill~

    s-
    LIIIIJIIII



    MIIIID-
               811111111

    c1111F1111
    •s.i
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    Richard Rosen

    Arkansas Department of Human Services

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5/21/2019                                                Legal Aid of Arkansas Mail - 10-Day Reinstatements



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    Sent: Wednesday, June 21, 2017 4:12 PM
    To: Rich Rosen <Rich .Rosen@dh s .arkansas .gov>; Casey Trzcinski <ctrzcinski@arlegalaid .org >; Amy Pritchard
    <apritchard@arlegalaid .org>
    Subject: 10-Day Reinstatements



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    Best,


    Kevin




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                   Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 72 of 101
5/21/2019                                                    Legal Aid of Arkansas Mail - 10-Day Reinstatements




  -
  LEGAL AID ARKANSA~
                [.q, IAm o)uni ,
                                                                                                  Kevin De Liban <kdeliban@arlegalaid.org>



  10-Day Reinstatements
  Kevin De Liban <kdeliban@arlegalaid.org>                                                                           Wed, Aug 9, 2017 at 3:54 PM
  To: Nicholas Windle <Nicholas.Windle@dhs.arkansas.gov>
  Cc: Rich Rosen <Rich .Rosen@dhs.arkansas.gov>

    Dear Rich and Nick:

    Despite my multiple previous inquiries on 6/23/17 and 7/27/17 and your statements that Mr. 8-hours have been
    reinstated pursuant 42 CFR 431 .230, his c.re  iver is still unable to bill for the full 56 attendantcare'Tiours per week (112
    per 14-day period; 242 monthly) that Mr. B        was allotted as of the time of the agency's adverse action . Rather,
    Palco is only authorizing payment for up to     ours per week (74 per 14-day period; 161 per month). Can you please
    ensure that the plan of care is amended back to 3/31 /17 and that it is sent to Palco so that Palco will authorize payment
    for the full amount of hours to which Mr. 8 - has been entitled by since the agency last assessed him? Thank you .

    Kevin



                                                                          S-
    On Fri , Jul 28, 2017 at 10:12 AM , Kevin De Liban <kdeliban@arlegalaid.org> wrote :
      The effective date should be back to the date the new plan of care took effect (roughly, 3/31 /17) to ensure that there is
      no change from the 56 weekly hours (242 monthly) that             had been receiving prior to the adverse action. Once
      properly amended, can you please confirm that the amende'a"p'l'an of care is sent to Palco so that Palco will authorize
      payment for 56 weekly hours for care already provided and that will be provided henceforth (until the hearing decision
      is issued)?

      On Fri, Jul 28, 2017 at 9:54 AM, Nicholas Windle <Nicholas.Windle@dhs .arkansas.gov> wrote:

            Kevin,



            Mr. B - hours were restored on July 7, 2017, effective May 15, 2017 pending the outcome of the
            appeal.




            Office of Chief Counsel

            Arkansas Department of Human Services

            P.O. Box 1437, Slot S260

            Little Rock, AR 72203

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                        Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 73 of 101
5/21/2019                                               Legal Aid of Arkansas Mail - 10-Day Reinstatements

            sensitive




            From: Kevin De Liban [mailto:kdeliban@arlegalaid .org]
            Sent: Thursday, July 27, 2017 4:23 PM
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            Rich--



            I sent you this list on 6/23 -bout
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            Dear Rich :



            ~-da  , I filed the attached appeals with OAH for two clients facing ARChoices hour reductions, ~ ~ and
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            Kevin De Liban , Staff Attorney

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            Phone: (870) 732-6370 x. 2206

            Cell: (901) 834-0436

            Fax: (870) 732-6373

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                   Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 76 of 101
5/21/2019                                               Legal Aid of Arkansas Mail - 10-Day Reinstatements




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                   Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 77 of 101
5/21/2019                                                  Legal Aid of Arkansas Mail - 10-Day Reinstatements




                                                                                                Kevin De Liban <kdeliban@arlegalaid.org>



  10-Day Reinstatements
  Nicholas Windle <Nicholas.Windle@dhs.arkansas.gov>                                                              Tue, Aug 15, 2017 at 7:53 AM
  To: Kevin De Liban <kdeliban@arlegalaid.org>
  Cc: Rich Rosen <Rich .Rosen@dhs .arkansas.gov>


    Kevin,



    I will follow up on this again today. I've been told that, with both of this cases, we have authorized
    payment and the issue is with Palco.




    Office of Chief Counsel

    Arkansas Department of Human Services

    P.O. Box 1437, Slot S260

    Little Rock, AR 72203

    Phone: 501-320-6371

    Facsirnile:501-682-1390

    nicholas.windle@dhs.arkansas.gov

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    sensitive




    From: Kevin De Liban [mailto:kdeliban@arlegalaid.org]
    Sent: Thursday, August 10, 2017 9:35 AM
    To: Nicholas Windle
    Cc: Rich Rosen
    Subject: Re: 10-Day Reinstatements


    Rich and Nick--



    We're having the same issue re payment w i t h ~               vtlllll-
                                                                     Despite timely 10-day appeal, Palco is authorizing
    payment only at the reduced number of attendant"'ca're hours. Please belp resolve this and ensure that authorization for
    the full pre-reduction hours is made effective back to the the date of the adverse assessment. Thanks.                  Exhibit M
https://mail.google .com/mail/u/0?ik=426ef5ffc5&view=pt&search=all&permmsgid=msg-f%3A 1575801694310685919&dsqt= 1&simpl=msg-f%3A 157580...            117
                   Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 78 of 101
5/21/2019                                                  Legal Aid of Arkansas Mail - 10-Day Reinstatements



    On Aug 9, 2017 3:54 PM , "Kevin De Liban" <kdeliban@arlegalaid .org> wrote:

    Dear Rich and Nick:



    Despite my multiple previous inquiries on 6/23/17 and 7/27/17 and your statements that Mr. ~                 hours have been
    reinstated pursuant 42 CFR 431.230, his-are    iver is still unable to bill for the full 56 attendantcare1i'ours per week (112
    per 14-day period ; 242 monthly) that Mr.         was allotted as of the time of the agency's adverse action . Rather,
    Palco is only authorizing payment for up to     ours per week (74 per 14-day period ; 161 per month) . Can you please
    ensure that the plan of care is amended back to 3/31 /17 and that it is sent to Palco so that Palco will authorize payment
    for the full amount of hours to which Mr. ~ has been entitled by since the agency last assessed him? Thank you .



    Kevin



    On Fri , Jul 28, 2017 at 10:12 AM, Kevin De Liban <kdeliban@a rlegalaid .org> wrote :

    The effective date should be back to the date the new.an of care took effect (roughly, 3/31 /17) to ensure that there is no
    change from the 56 weekly hours (242 monthly) that           had been receiving prior to the adverse action. Once
    properly amended, can you please confirm that the amen e plan of care is sent to Palco so that Palco will authorize
    payment for 56 weekly hours for care already provided and that will be provided henceforth (until the hearing decision is
    issued)?



    On Fri , Jul 28, 2017 at 9:54 AM , Nicholas Windle <Nicholas.Wind le@dhs.arkansas.gov> wrote :

    Kevin,



    Mr. ~ hours were restored on July 7, 2017, effective May 15, 2017 pending the outcome of the
    appeal.




    Office of Chief Counsel

    Arkansas Department of H uman Services

    P.O. Box 1437, Slot S260

    Little Rock, A R 72203

    Phone: 501 -320-6371

    Facsimile: 501-682-1 390

    nicholas.windle@dhs .arkansas.gov

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                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 79 of 101
5/21/2019                                               Legal Aid of Arkansas Mail - 10-Day Reinstatements




    From: Kevin De Liban [mailto:kdeliban@arlegalaid.org]
    Sent: Thursday, July 27, 2017 4:23 PM
    To: Rich Rosen; Nicholas Windle
    Subject: Re: 10-Day Reinstatements


    Rich--



    I sent you this list on 6/23 about people whose hours hadn't been restored despite appeal within 10 days of the notice of
    action . ~ ~ hours have still not been restored despite the timely request to maintain services at pre-
    reductionieveTTsee'attaclied notice of appeal with request for continued benefits filed on 5/11 /17) . The plan of care
    should be backdated to authorize 242 hours per month as of the date of the plan of care was executed.



    I'm copying Nick Windle since he is the attorney assigned to this case .


    Kevin



    On Fri, Jun 23, 2017 at 10:06 AM, Kevin De Liban <kdeliban@arlegalaid.org> wrote :

    Thanks, Rich . I appreciate the help on the cases of Ms. K - and Ms. D_          _Here are several other clients whose
    hours weren't continued immediately or who have suffere'a"cielays in restoration :




      J_
    ....
    A. .
   L. .
             Vvlllllll


    Mllll •-
    c. . F    •
    v-a . .
    Please advise the nurses and care agencies to ensure their hours are continued as well. Again, I would hope the agency
    implements a system-wide resolution to this issue sooner rather than later.



    Kevin




    On Thu , Jun 22, 2017 at 4:18 PM , Rich Rosen <Rich.Rosen @dhs .arkansas .gov> wrote:

    The care agencies have been advised to continue the recipient's hours.

                                                                                                                Exhibit M
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                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 80 of 101
5/21/2019                                               Legal Aid of Arkansas Mail - 10-Day Reinstatements

    Richard Rosen

    Arkansas Department of Human Services

    Office of Chief Counsel

    P.O. Box 1437, Slot S260

    Little Rock, AR 72203

    501-320-6334               Fax: 501-682-1390



    email address is: rich.rosen@dhs.arkansas.gov



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    From: Kevin De Liban [mailto:kdeliban@arlegalaid .org]
    Sent: Wednesday, June 21, 2017 4:12 PM
    To: Rich Rosen <Rich .Rosen@dhs.arkansas.gov>; Casey Trzcinski <ctrzcinski@arlegalaid .org>; Amy Pritchard
    <apritchard@arlegala id .org>
    Subject: 10-Day Reinstatements



    Dear Rich:



      d   I filed the attached appeals with OAH for two clients facing ARChoices hour reductions,            AIIIIIII
                                                                                                              ~ and
            D       . They are both well within the 10-day timeframe for continuing services, yet the care agenciestor each
           re. .tarted to implement the reductions or plan to do so soon. Please make sure those reductions are not
    implemented.
    -


    Also, as we have discussed in the past, I would encourage the agency to improve the communications between its
    various employees to ensure that reductions are not implemented before the 10 days from the date of the notice of action.
    In the majority of our clients cases, reductions are implemented immediately after the plan of care is finalized and sent to
    the provider agency or Palco. This violates clients' rights to 10-day notice, 42 CFR 431 .211 , and to continued services
    pending appeal. 42 CFR 431 .230. Also , whatever disagreements persist between the agency and Legal Aid as to the
    substantive adequacy of the notices, the notices clearly lack the required "the effective date of such action ." 42 CFR
    431 .210.



    Even if eventually restored once an Office of Chief Counsel attorney is assigned to the case, the unlawful
    reductions still disrupt clients' lives. Premature reductions force them to re-do billing papers, arrange for unpaid care (if
    anyone is available to provide it), live without care , and generally fret about their well-being and safetr DHS's
    compliance with its clear obligations would remove such disruptions.                                   Exhibit M
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                 Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 81 of 101
5/21/2019                                               Legal Aid of Arkansas Mail - 10-Day Reinstatements



    As always, Legal Aid is available to consult with the agency to ensure that it meets its obligations under relevant Medicaid
    and constitutional law. We thank you for your attention .



    Best,


    Kevin




    Kevin De Liban, Staff Attorney

    Legal Aid of Arkansas--West Memphis

    310 Mid-Continent Plaza, Suite 420

    West Memphis, AR 72301

    Phone: (870) 732-6370 x. 2206

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    Fax: (870) 732-6373

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                 Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 82 of 101
5/21/2019                                               Legal Aid of Arkansas Mail - 10-Day Reinstatements

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                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 84 of 101
5/21/2019                                                Legal Aid of Arkansas Mail - Restoration of Hours--2




  LEGAL AID/ ARKAN~A~                                                                         Kevin De Liban <kdeliban@arlegalaid.org>
              f~ol m , 10 )oui ,

  Restoration of Hours--2




                                                                            B-
  Kevin De Liban <kdeliban@arlegalaid.org>                                                                      Sat, Sep 2, 2017 at 7:48 PM
  To : Rich Rosen <Rich.Rosen@dhs.arkansas.gov>

    Hi Rich . I'm writing again today on this lovely Saturday on behalf of another client who timely requested appeal in May
    and has still not had his hours restored . This time it is S -              PALCO has not been paying the caregivers the
    pre-reduction hours for months now, despite inquiries to you m June.July, and August. Even if the issue is with PALCO,
    PALCO is a contractor of OHS, the single state agency charged with the responsibility to furnish Medicaid services with
    reasonable promptness and provide fair hearings. See 42 U.S.C. 1396a(a)(3),(8). The 10-day restoration is part and
    parcel of those requirements . It's DHS's responsibility to ensure that PALCO is paying . It probably only takes OHS
    sending PALCO a plan of care or putting in a higher number of hours in a software program somewhere.

    Please just tell me outright if you need us to sue you in order to get some functioning system in place for the preservation
    of services for people appealing within the 10-day window. Since repeated friendly requests don't seem to be working , I'd
    be happy to do you the favor and provide the agency a court mandate. It might make your job a little easier.

    Kevin


    Kevin De Liban, Staff Attorney
    Legal Aid of Arkansas--West Memphis
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    West Memphis, AR 72301
    Phone: (870) 732-6370 x. 2206
    Cell: (901) 834-0436
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    P.S. Have you registered for our 50th Anniversary Celebration? Come for the CLE, stay for the reception!




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                 Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 85 of 101
5/23/2019                                              Legal Aid of Arkansas Mail - Restoration of Hours--2




                                                                                            Kevin De Liban <kdeliban@arlegalaid.org>



  Restoration of Hours--2
  Rich Rosen <Rich .Rosen@dhs .arkansas.gov>                                                                  Wed , Sep 6, 2017 at 1:54 PM
  To : Kevin De Liban <kdeliban@arlegalaid .org>
  Cc: Rich Rosen <Rich.Rosen@dhs.arkansas.gov>


    Kevin-



    DAAS confirmed that the hours are restored and that the caregiver(s) can be compensated for the restored hours.



    Richard Rosen

    Arkansas Department of Human Services

    Office of Chief Counsel

    P.O. Box 1437, Slot S260

    Little Rock, AR 72203

    501-320-6334              Fax: 501-682-1390



    email address is: rich.rosen@dhs.arkansas.gov



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    From: Kevin De Liban [mailto:kdeliban@arlegalaid.org]
    Sent: Saturday, September 02, 2017 7:48 PM
    To: Rich Rosen <Rich.Rosen@dhs.arkansas.gov>
    Subject: Restoration of Hours--2

                                                                                                                  Exhibit M
    Hi Rich. I'm writing again today on this lovely Saturday on behalf of another client who timely requested appeal in May
    and has still not had his hours restored. This time it is ~ ~ PALCO has not been paying the caregivers the
    pre-reduction hours for months now, despite inquiries to you in Juri'e,'TuTy, and August. Even if the issue is with PALCO,
    PALCO is a contractor of OHS, the single state agency charged with the responsibility to furnish Medicaid services with
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                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 86 of 101
5/23/2019                                               Legal Aid of Arkansas Mail - Restoration of Hours--2

    reasonable promptness and provide fair hearings. See 42 U.S.C. 1396a(a)(3),(8). The 10-day restoration is part and
    parcel of those requirements. It's DHS's responsibility to ensure that PALCO is paying. It probably only takes OHS
    sending PALCO a plan of care or putting in a higher number of hours in a software program somewhere.



    Please just tell me outright if you need us to sue you in order to get some functioning system in place for the preservation
    of services for people appealing within the 10-day window. Since repeated friendly requests don't seem to be working, I'd
    be happy to do you the favor and provide the agency a court mandate. It might make your job a little easier.


    Kevin




    Kevin De Li ban, Staff Attorney

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                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 87 of 101
5/21/2019                                                  Legal Aid of Arkansas Mail - ARChoices Letter




                                                                                            Kevin De Liban <kdeliban@arlegalaid.org>



  ARChoices Letter
  Kevin De Liban <kdeliban@arlegalaid.org>                                                  Thu, Aug 10, 2017 at 4:30 PM
  To: David Sterling <David .Sterling@dhs.arkansas.gov> , Rich Rosen <Rich.Rosen@dhs.arkansas.gov>, Jim Brader
  <jim .brader@dhs.arkansas.gov>, Lee Richardson <lrichardson@arlegalaid .org>

    Dear David , Rich , and Jim:

    Please find attached a letter regarding the ARChoices program offered in hopes of finding an amicable way for OHS and
    Legal Aid, acting on our clients behalves, to address aspects of the program that concern our clients.

    Best,

    Kevin


    Kevin De Liban , Staff Attorney
    Legal Aid of Arkansas--West Memphis
    310 Mid-Continent Plaza, Suite 420
    West Memphis, AR 72301
    Phone: (870) 732-6370 x. 2206
    Cell: (901) 834-0436
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     ~      Letter to DHS re ARChoices--FINAL.pdf
            393K




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                     Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 88 of 101


                                                   LEGAL AID(fARKANSAS
                                                                   Equal Access rn Juscic e

                               August 10, 2017
        TOLL FREE
    1-800-967-9224             David Sterling, Esq.                          Rich Rosen, Esq.
                               Office of Chief Counsel                       Office of Chief Counsel
        TELEPHONE              Department of Human Services                  Department of Human Services
    1-870-972-9224
                               P.O. Box 1437, Slot S260                      P.O. Box 1437, Slot S260
         HELPLINE              Little Rock, AR 72203-1437                    Little Rock, AR 72203-1437
    1-800-952-9243
                               Jim Brader, Esq.
 www .arlegalaid.org           Office of Chief Counsel
                               Department of Human Services
Arkansas Children's Hospital   P.O. Box 1437, Slot S260
 1 Children's Way, Slot 695
Little Rock, AR 72202-3500
                               Little Rock, AR 72203-1437
     501-978-6479- Fax
                               Re:      ARChoices
          Harrison
   205 West Stephenson
    Harrison, AR 72601         Dear Mr. Sterling, Mr. Rosen, and Mr. Brader:
    800-967-9224 - Fax

   Helena-West Helena          I am writing on behalf of our clients in the hopes of opening dialogue on ongoing points of
         622 Pecan             contention between Legal Aid clients and the Department with respect to the ARChoices
     Helena, AR 72342
    870-338-9834 - Fax         program. Since Legal Aid and DHS are currently engaged in litigation, I am sending this to
                               you as the agency's attorneys. However, I respectfully ask that you pass it along to Cindy
        Jonesboro
   714 South Main Street
                               Gillespie, Jay Hill, Stephanie Blocker, Brad Nye, Dawn Stehle, and Catherine Kelley (or
   Jonesboro, AR 72401         another representative from the Governor's office) so that all relevant stakeholders may be
    870-910-5562 - Fax
                               fully aware of our clients' positions and our overall willingness to again attempt amicable
         Newport               resolution. Specifically, we would like to meet with the interested parties to work on a
     202 Walnut Street         cooperative way forward.
    Newport, AR 72112
    870-523-9892 - Fax
                               Since implementation of the ARChoices program and the RUGs algorithm-based care
        Springdale
                               allocation system in January 2016, over 100 individuals have come to Legal Aid of
      1200 Henryetta
   Springdale, AR 72762        Arkansas seeking legal representation to contest DHS's decisions to significantly cut or
    479-751-0002 - Fax         terminate their services. There are no signs that the need for our services is declining. We,
      West Memphis             of course, are committed to helping them maintain a dignified life with sufficient care in
 310 M id Continent Plaza      the communities in which they wish to continue living.
        Suite 420
 West Memphis, AR 72301
   870-732-6373 - Fax          As you know, people requiring ARChoices services are particularly vulnerable by virtue of
                               profound physical disabilities, which are often coupled with advanc·ed age. Most of the
                               people who have come to us have cerebral palsy, multiple sclerosis, quadriplegia, or
                               myriad other chronic issues, require motorized wheelchairs or other assistive devices to get
                               around, face significant social isolation, and struggle to have their most basic care needs
                               met. A clean house, decent food, proper bathing, relative physical comfort (lying or sitting
                               with as little pain as possible), ready access to the toilet, and unsoiled garments are not
                               easily obtained for our clients and are necessary to maintain a small measure of dignity.

                               Meaningful enjoyment of life is also difficult. Our clients count themselves lucky with
                               modest activities that I often take for granted-a trip to the grocery store, a meal out once
                               in a while, a chance to tend a garden, or a visit with one of few friends or family members

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                                                                                                       Exhibit N
            Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 89 of 101

in the area. Even those few who have the good fortune of a richer social life with more activities out of the
home struggle to get transportation, risk pain or potential incontinence if out too long, and face other barriers to
full participation in community life.

                                     Shortcomings and Practical Solutions

Legal Aid of Arkansas and our clients recognize that the ARChoices program provides valuable services, most
notably Attendant Care, and understands that the Department has its own constraints when considering how to
provide such services. Our clients have three central concerns, each of which has a feasible solution:

        (A) Insufficient Care for Acute Beneficiaries. The amount of care allocated to the most acute RUG
        tiers is not sufficient to meet the actual care needs of program participants who, under the previous
        system of nurse discretion, had been determined to need between 40 and 56 hours of care per week.
       DHS should consider significant increases to the care allocations for all individuals in at least the
       following RUGs: PD (137 monthly hours/32 weekly hours), CC (141/33), SEJ (153/35), RB (157/36),
        SSB (161137), and SE 2 (201/46).

       (B) Incomprehensible Algorithms. The algorithms used are not' understandable to the average person
       and have not yet been translated for the public in intelligible ways. This means that beneficiaries and, if
       involved, families cannot predict care levels to plan for the future, that hearing officers do not know
       which of the 286 assessment items are material to RUG placement, and that nurses do not know to
       which questions to pay particular attention. Other states have managed to make the algorithms
       understandable. The individuals at interRAJ, Mitchell Harlan, and Legal Aid staff could collaborate to
       prepare a document that explains the algorithms in accurate and simple terms (the flowchart included in
       the current notices is not a completely accurate depiction of the way the algorithms work).

       (C) Irrational Outcomes. The algorithms do not make sense when the difference of one point on one
       question out of 286 can mean a difference of, for example, nine Attendant Care hours per week. There
       are many other scenarios under the algorithm that run counter to reason. Nurses should be allotted
       discretion to adjust care allocations to ameliorate apparent absurdities.

There are several related issues plaguing our clients, also with eminently practical solutions:

       (1) Premature Reduction of Services. Clients who appeal within 10 days of the notice of action do not
       have their services maintained at pre-reduction levels as required by federal regulations, even with
       explicit requests to do so. While Mr. Rosen has been helpful in restoring the hours of those clients
       whose services were prematurely reduced, his involvement required correspondence from a Legal Aid
       attorney after the Department failed to take note of an explicit request in the appeal paperwork. If the
       agency's system for tracking appeals is not working well for program participants with an attorney, one
       can only imagine the adverse effects on unrepresented individuals. DHS should adopt new internal
       procedures for appeals so that DAAS nurses do not forward the Person Centered Service Plan to Palco
       or agency providers until 15 days have elapsed from the date the notice of adverse action is sent.
       Relatedly, OAH should coordinate with DAAS to ensure that nurses are promptly made aware of all
       appeals so that they do not implement a reduction for a beneficiary who appealed within IO days.

       (2) Inconsistent Assessments. We have seen several instances of clients whose condition has either
       worsened or remained unchanged, but who have seen a drastic drop in services as a result of assessments
       by different nurses from one year to the next. Although interRAI defines the assessment questions and
       possible answers in fair detail, individual nurses interpret the questions and client responses in wildly
       different ways. As a result of this inconsistency, we are seeing much more movement between RUGs-
       and therefore service levels-than we ever did prior to the implementation of this system. Clients with

                                                          2                                   Exhibit N
    Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 90 of 101

severe disabilities and progressive diseases need consistent, predictable routines which they are not
getting the current implementation of this system. Where the algorithms' purported objectivity and
consistency depend on accurate inputs, nurses should receive further training on the precise meaning of
questions and particular responses, paying special attention to the questions on the assessment that are
material to RUG placement.

(3) Inconsistent Use of New Assessments. Nurses in the Division of Aging and Adult Services have not
granted requests for new evaluations that take into account changes in a beneficiary's conditions
between regularly-scheduled yearly evaluations. As even small changes can impact the RUG tier into
which one is placed, the agency should adopt standards to guide nurse decisions on conducting new
assessments when learning ofa change in a beneficiary 's condition. Here, an intelligible translation of
the algorithms (mentioned above) would help all involved parties know what sorts of changes are likely
to result in a new RUG placement such that the agency's limited resources are used wisely. Particular
attention should be paid to the assessment questions that affect the Activity of Daily Living scale (bed
mobility, eating, toilet use, toilet transfer).

(4) Inadequate Notices. The notices sent to beneficiaries are still deficient. Agency attorneys have
repeatedly offered Mitchell Harlan as a witness in administrative hearings to testify about how the
algorithms work. His grasp of the algorithms far exceeds any other Department employee and means
that the agency now has the knowledge on staff to craft notices that better comport with Judge .
Marshall's ruling in Jacobs. While the comparison report now included with the notice is helpful, it
frequently involves six to eight pages of assessment items that have changed from the previous
assessment to the most recent assessment. Beneficiaries and, for that matter, hearing officers still have
no way of knowing before the hearing which items out of the six to eight pages are material to RUG
placement. And, even if Mr. Harlan can separate the material assessment items from the irrelevant ones
(for purposes of RUG placement) at the hearing, the beneficiary has at that point not been given prior
knowledge about what counts and what does not, a significant problem for represented appellants and an
even more troubling one for unrepresented appellants. In other words, people whose lived conditions
have not changed much are left trying to figure out which of 45+ changes in assessment answers marked
by a nurse actually caused the reduction in hours. The notice ofaction should explicitly identify these
material items as Judge Marshall's ruling contemplates. Such a notice would also help quicken the
hearings, as the appellants would not need to contest every changed answer. In addition, the notice
should contain the intelligible translation of the algorithm so that a beneficiary can see what changes in
conditions could result in placement in a more acute or less acute RUG.

(5) Lack of De Novo Hearings. As hearings are conducted now, they are not properly de novo, instead
being limited to the date of the evaluation. Given present scheduling timelines, hearings are often not
held until three or four months after the evaluation was administered. This means that program
beneficiaries must offer evidence about their condition from months ago. Instead, the hearing officer
should accept evidence about a beneficiary 's present circumstances to ensure that the hearing produces
a RUG placement appropriate for the beneficiary 's present circumstances. Again, an intelligible
translation of the algorithm would aid hearing officers to make accurate decisions about which RUG an
individual properly belongs in.

(6) Unexamined Risk oflnstitutionalization. Currently, the Department gives no consideration to
whether the amount of hours allocated under the RU Gs system is sufficient to meet a specific
individual's care needs so as to avoid unnecessary institutionalization. This has resulted in individuals,
particularly those without family caregivers, being forced to lie in their own waste, go without meals,
miss medication doses, risk falls, and be exposed to other circumstances likely to quicken
institutionalization. The Department should evaluate the risk ofinstitutionalization for each beneficiary


                                                 3                                   Exhibit N
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       based on the number ofAttendant Care hours allotted and empower nurses to sufficiently adjust hour
       allocations to evade such risk.

       (7) Software Omissions. The ArPath currently lacks the ability to code for several items that are
       material to RUG placements, including cerebral palsy, septicemia, and internal bleeding. Mr. Harlan
       testified in a recent hearing that the algorithms use the presence or absence of these factors to determine
       RUG placement but that he had never seen any of them ever appear on the relevant parts of the
       assessment. Nurse Karen Langston confirmed that she cannot code for them. This should be something
       the agency's software contractor can program into the ArPath to ensure that the assessment software
       accounts for all ofthe material items in the algorithms.

       (8) Data Deficiencies. Despite multiple FOIA requests since the tum of the year, the Department has
       produced no information about, for example, the number of individuals in each RUG, the impact of the
       RU Gs system on individual beneficiaries or overall program budgets, the rate of movement between
       RU Gs by beneficiaries, or anything else that would help the Department or public to determine whether
       the RU Gs has been good policy. The Department should start keeping such data and making it readily
       available to the public. Legal Aid would be happy to suggest a set of useful measures.

                                   New Assessment System and Algorithms

Legal Aid understands that the agency intends to shift away from the ArPath to the MnCHOICES assessment
tool and, apparently, away from the RU Gs algorithms to a new set of algorithms about which no information is
publicly available. The new assessment tool and algorithms are likely to face the same issues encountered with
the ArPath and RUGs. Legal Aid will continue to actively aid program beneficiaries who are adversely affected
by the agency's decisions. However, we hope that some of those adverse effects can be avoided if our clients'
interests are properly taken into account before the new tool and algorithms are put into place. Legal Aid
would be glad to discuss the assessment and algorithms with the Department, identify ways for the Department
to use them in a way that is fair to our clients, and, in so doing, avoid points of contention that could lead to
continued legal entanglements. Under the right circumstances, we could arrange for our clients to speak directly
to relevant Department officials about their experience with the ARChoices and predecessor programs, what
they look for in an evaluation, and what unpredictability in services means to their lives.

            Memo of Understanding between DHS and the Arkansas Health Care Association

On May 20, 2016, Governor Hutchinson and the Department entered into a memo of understanding with AHCA
"to improve long-term services and supports in Arkansas," including Home and Community-Based Services
such as the ARChoices program. That document establishes a framework guiding the collaboration between the
state and AHCA. In the MOU, DHS "agrees to engage with beneficiaries and stakeholders who provide
advocacy on behalf of beneficiaries served." To this end, discussions between the Department, Legal Aid, and,
potentially, our clients cah inform the Department's efforts at global LTSS improvement and assure that those
high-level plans do ~ot foreseeably harm our clients in ways that might ultimately frustrate the desired changes.

                                                   Conclusion

DHS and Legal Aid, always acting on behalf of our clients, have battled vigorously over the last two years.
Litigation, of course, is not the best forum for measured discussion of vexing policy problems and consumes
resources that all of us would rather spend elsewhere. We hope that this letter serves as an opening to a less
litigious way forward that will balance the Department's interests with those of our many clients depending on
the DHS 's services. A fruitful next step would be an in-person meeting with relevant Department officials
using the concerns outlined here-and others the Department may have-as a starting point for
discussions.

                                                        4                                    Exhibit N
           Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 92 of 101




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Kevin De Liban, Practice Group Leader
Lee Richardson, Executive Director




                                           5                         Exhibit N
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5/21/2019                                                  Legal Aid of Arkansas Mail - ARChoices Letter




                                                                                            Kevin De Liban <kdeliban@arlegalaid.org>



  ARChoices Letter
  Rich Rosen <Rich.Rosen@dhs.arkansas.gov>                                                   Wed, Aug 16, 2017 at 9:05 AM
  To: Kevin De Liban <kdeliban@arlegalaid .org>, Lee Richardson <lrichardson@arlegalaid.org>
  Cc: Rich Rosen <Rich.Rosen@dhs.arkansas.gov> , Jim Brader <Jim.Brader@dhs.arkansas.gov>, David Sterling
  <David.Sterling@dhs.arkansas.gov>


    Kevin -



    I have reviewed your letter and forwarded it to my client. I will be out of my office today on jury duty and then will be
    out of the office for several days on vacation. I expect to meet with DAAS about your letter late next week after I
    return and will get back to you shortly thereafter.



    Richard Rosen

    Arkansas Department of Human Services

    Office of Chief Counsel

    P.O . Box 1437, Slot S260

    Little Rock, AR 72203

    501-320-6334               Fax: 501-682-1390



    email address is: rich.rosen@dhs.arkansas.gov



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                                                                                                                  Exhibit 0
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                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 94 of 101
5/21/2019                                                Legal Aid of Arkansas Mail - Restoration of Hours




  LEGAL AID ARKANSAS                                                                         Kevin De Liban <kdeliban@arlegalaid.org>
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  Restoration of Hours
  Kevin De Liban <kdeliban@arlegalaid.org>                                                                    Sat, Sep 2, 2017 at 6:08 PM
  To: Rich Rosen <Rich.Rosen@dhs.arkansas.gov>

    Rich ,

    My clients are still having problems with the restoration of hours. The latest is A - K - Her plan of care is
    attached. It was amended by the DAAS RN to reflect the restored hours, but PA~s nof'paying the caregiver for the
    restored hours, but rather only the reduced amount. Please work out a functioning system so that people who appeal
    within 10 days get to keep the pre-reduction services to which they are entitled by 42 CFR 431 .230. This is getting
    tiresome , and OHS is clearly on the wrong side of the law here.

    Kevin


    Kevin De Liban , Staff Attorney
    Legal Aid of Arkansas--West Memphis
    310 Mid-Continent Plaza, Suite 420
    West Memphis, AR 72301
    Phone: (870) 732-6370 x. 2206
    Cell : (901) 834-0436
    Fax: (870) 732-6373
    Web I Facebook I Twitter

    P.S. Have you registered for our 50th Anniversary Celebration? Come for the CLE, stay for the reception!


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                                                                                                                   Exhibit P
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                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 95 of 101
5/23/2019                                                Legal Aid of Arkansas Mail - Restoration of Hours




 LEGALAID/ ARKAN~A~                                                                          Kevin De Liban <kdeliban@arlegalaid.org>
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  Restoration of Hours
  Rich Rosen <Rich.Rosen@dhs.arkansas.gov>                                                                   Wed , Sep 6, 2017 at 1:56 PM
  To: Kevin De Liban <kdeliban@arlegalaid.org>
  Cc: Rich Rosen <Rich .Rosen@dhs.arkansas.gov>


    Kevin-



    DAAS has confirmed that the hours are restored and that the caregiver)s) can be compensated for the restored
    hours.



    Richard Rosen

    Arkansas Department of Human Services

    Office of Chief Counsel

    P.O. Box 1437, Slot S260

    Little Rock, AR 72203

    501-320-6334                     Fax: 501-682-1390



    email address is: rich.rosen@dhs.arkansas .gov



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    to you. Please take all reasonable measures to protect any protected or confidential data that might be in this
    message, including the limitation of re-disclosure to the minimum number of recipients necessary. Please report
    any inappropriate disclosure to https://dhs.arkansas.gov/reporting or as required by law.




                                                                                                                  Exhibit P
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                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 96 of 101
5/21/2019                                          Legal Aid of Arkansas Mail - ARChoices Hour Reinstatements




  LEGALAIDefARKAN~A~                                                                       Kevin De Liban <kdeliban@arlegalaid.org>
              £4, I mu co Ju11i f
  ARChoices Hour Reinstatements
  Kevin De Liban <kdeliban@arlegalaid.org>                                                 Wed , Jan 10, 2018 at 9:50 AM
  To: Rich Rosen <Rich.Rosen@dhs.arkansas.gov> , Mitchell Harlan <Mitchell.Harlan@dhs.arkansas.gov>
  Cc: Casey Trzcinski <ctrzcinski@arlegalaid.org>

    Dear Rich and Mitchell :

    Two clients have been reassessed , had their Attendant Care hours reduced , appealed within 10 days while specifically
    requesting their hours be maintained at pre-reduction le~ding the outcome of the appeal , and still have had their
    hours reduced . They are        RIii
                                     D - and S ~ - Would you kindly look into this and ensure their hours are
    restored asap? Thank you .

    Kevin


    Kevin De Liban, Attorney
    Legal Aid of Arkansas--West Memphis
    310 Mid-Continent Plaza, Suite 420
    West Memphis, AR 72301
    Phone: (870) 732-6370 x. 2206
    Cell : (901) 834-0436
    Fax: (870) 732-6373
    Web I Facebook I Twitter




                                                                                                                 Exhibit Q
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                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 97 of 101
5/21/2019                                           Legal Aid of Arkansas Mail - ARChoices Hour Reinstatements




  LEGAL AIDifARKAN~AS                                                                       Kevin De Liban <kdeliban@arlegalaid.org>
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  ARChoices Hour Reinstatements
  Kevin De Liban <kdeliban@arlegalaid .org>                                               Wed , Jan 10, 2018 at 9:50 AM
  To: Rich Rosen <Rich.Rosen@dhs.arkansas.gov>, Mitchell Harlan <Mitchell.Harlan@dhs.arkansas.gov>
  Cc: Casey Trzcinski <ctrzcinski@arlegalaid .org>

    Dear Rich and Mitchell :

    Two clients have been reassessed , had their Attendant Care hours reduced , appealed within 10 days while specifically
    requesting their hours be maintained at pre-reduction le~nding the outcome of the appeal , and still have had their
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    restored asap? Thank you .

    Kevin


    Kevin De Liban , Attorney
    Legal Aid of Arka nsas--West Memphis
    310 Mid-Continent Plaza , Suite 420
    West Memphis, AR 72301
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    Cell : (901) 834-0436
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5/23/2019                                                    Legal Aid of Arkansas Mail - (no subject)

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 -UGJ\l AID,lJ\RKAN~J\~                                                                      Kevin De Liban <kdeliban@arlegalaid.org>
              f~1.1I Am11 CP )u11ic,

  (no subject)
  Rich Rosen <Rich .Rosen@dhs.arkansas.gov>                                                                 Thu, Jan 11, 2018 at 3:28 PM
  To: "kdeliban@arlegalaid.org" <kdeliban@arlegalaid.org>

     Kevin-

    The services for your clients ~ and           81111111 are reinstated or continuing at the prior
    level. Please let me know if you have any other questions

    Sent from my iPhone




                                                                                                                 Exhibit Q
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                 Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 99 of 101
5/23/2019                                 Legal Aid of Arkansas Mail - ARChaces- Maintaining Services Pending Appealing


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  UGJ\l AIDr.f1\RKAN~A~                                                                    Kevin De Liban <kdeliban@arlegalaid.org>
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  ARChoices--Maintaining Services Pending Appealing
  Kevin De Liban <kdeliban@arlegalaid.org>                                             Tue, Mar 12, 2019 at 7:05 PM
  To: Rich Rosen <Rich.Rosen@dhs.arkansas.gov>, "Mark White (OHS)" <Mark.White@dhs.arkansas.gov>,
  stephenie.blocker@dhs.arkansas.gov

    Dear Mark, Stephenie, and Rich:

    Legal Aid is representing several clients facing termination of ARChoices services. Either on their own or through Legal
    Aid's notice of representation, all have timely requested continuation of services as provided by 42 CFR 431 .230.
    Nonetheless, the clients have been informed that their services will be discontinued.

    Accordingly, please ensure that the following clients are kept at their pre-reduction service levels.

                         (Case No. 19001084)
                        1dob-)
                        (Cas~19000900)
                        Case No. 19001086)
                         (dob'
                         (dob

    Apparently, some providers believe they are at risk of having to absorb the costs of services provided during the course of
    appeal at a client's timely request and, thus, are denying or planning to deny services to clients. Of course, if continuation
    is timely requested, OHS denying payment for services provided pending the appeal would patently violate 42 CFR
    431 .230 and the due process principles in which it is rooted. I would appreciate a reminder from OHS to all providers that
    they will be paid for services provided during the pendency of the appeal so long as the client has timely requested it.

    I would also appreciate a reminder to providers that they cannot terminate any services until 10 days have run from the
    date on the notice of action informing the client that their services will be terminated. Apparently, one client already has
    had home-delivered meals stopped before the 10 days ran. Her services were terminated before she even had a chance
    to lodge a request that they be continued.

    This problem came up repeatedly from 2016 to 2018, and OHS never developed a mechanism to ensure that clients who
    wanted continuing services pending the appeal actually received them. Legal Aid had to manually request it of the Office
    of Chief Counsel even though the client's original notice of appeal contained a request. There apparently was no
    communication from the Office of Appeals and Hearings to county offices (or whatever the proper unit within OHS is) to
    keep services on pending the appeal.

    The lack of continued services when properly requested is harming clients. One client told me that they were "curled into
    a ball in tears" because they didn't know how they would live without their services. Others have expressed similar pain,
    fear, and worry. The provision for continuing services is clearly established by law. Please ensure that the agency
    comports with its obligations under 42 CFR 431.230.

    Thank you.

    Kevin De Liban , Attorney
    Economic Justice Practice Group Leader
    Legal Aid of Arkansas--West Memphis
    310 Mid-Continent Plaza, Suite 420
    West Memphis, AR 72301
    Phone: (870) 732-6370 x. 2206
    Cell: (901) 834-0436
    Fax: (870) 732-6373
    Web I Facebook I Twitter




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                  Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 100 of 101
5/23/2019                                         Legal AKI of Arkansas Mail - ARChoices- Maintaining Services Pending Appealing




  lEGAl AID1'ARKANSA~                                                                               Kevin De Liban <kdeliban@arlegalaid.org>
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  ARChoices--Maintaining Services Pending Appealing
  Rich Rosen <Rich.Rosen@dhs.arkansas.gov>                                                                           Wed, Mar 13, 2019 at 5:16 PM
  To: Kevin De Liban <kdeliban@arlegalaid.org>
  Cc: Rich Rosen <Rich.Rosen@dhs.arkansas.gov>


    I have information on your 6 clients:



    1.      J. .     BIii- Services continued and never stopped ;
    2.

    3.

    4.
                A--
            G.N-K--
            RIii M. . -Services continued and never stopped;
                                        Services continued and never stopped;

                                      Services continued and never stopped;

    5.      C. .       s1111- Services continued and never stopped; and
    6.      JIIII DIii- Service stopped for an unknown reason but was reinstated effective
            today.


    Richard Rosen

    Arkansas Department of Human Services

    Office of Chief Counsel

    P.O. Box 1437, Slot S260

    Little Rock, AR 72203

    501-320-6334                        Fax: 501-682-1390


    email address is: rich.rosen@dhs.arkansas.gov



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                                                                                                                             Exhibit R
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                 Case 3:19-cv-00155-KGB Document 2 Filed 05/23/19 Page 101 of 101
5/23/2019                                  Legal Aid of Arkansas Mail - ARChoices--Maintaining Services Pending Appealing



    From: Kevin De Liban [mailto:kdeliban@arlegalaid .org]
    Sent: Tuesday, March 12, 2019 7:05 PM
    To: Rich Rosen <Rich .Rosen@dhs .arkansas.gov>; Mark White <Mark .White@dhs .arkansas.gov>; Stephenie
    Blocker <Stephenie. blocker@dhs.arkansas .gov>
    Subject: ARChoices--Maintaining Services Pending Appealing



    [EXTERNAL SENDER]

    [Quoted text hidden]
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